Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 1 of 85




                  Exhibit 1
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 2 of 85




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 ELLIOTT BROIDY and
 BROIDY CAPITAL MANAGEMENT, LLC,

                               Plaintiffs,

                     —v.—

 GLOBAL RISK ADVISORS LLC,
 GRA QUANTUM LLC,
 GRA RESEARCH LLC,                                Case No. 1:19CV11861
 GLOBAL RISK ADVISORS EMEA
 LIMITED,                                         JURY TRIAL DEMANDED
 GRA MAVEN LLC,
 QRYPT, INC.,
 KEVIN CHALKER,
 DENIS MANDICH,
 ANTONIO GARCIA, and
 COURTNEY CHALKER

                               Defendants.


                            SECOND AMENDED COMPLAINT

       Plaintiffs Elliott Broidy (“Broidy”) and Broidy Capital Management, LLC (“BCM”)

(collectively, “Plaintiffs”), pursuant to Fed. R. Civ. P. 8, file this Second Amended Complaint

against Global Risk Advisors LLC (“GRA”), GRA Quantum LLC (“GRA Quantum”), GRA

Research LLC (“GRA Research”), Global Risk Advisors EMEA Limited (“GRA EMEA”), GRA

Maven LLC (“GRA Maven”), Qrypt, Inc. (“Qrypt”), Kevin Chalker (“Chalker”), Denis Mandich

(“Mandich”), Antonio Garcia (“Garcia”), and Courtney Chalker (collectively, “Defendants”)

based on the following allegations:

       1.      Broidy is a prominent business and civic leader and a philanthropist who has

actively served in leadership roles in the Republican Party and Jewish organizations. His advocacy

against terrorism and extremism in protection of his country is well known, as is his criticism of
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 3 of 85




Qatar for sponsoring terrorists. Plaintiffs are victims of a hack-and-smear operation whose goal

was to silence Broidy’s criticism of Qatar’s support for terrorism. Defendants sought to achieve

this objective through the use of computer hacking and surveillance that occurred on numerous

occasions in 2017, 2018, and at least the first half of 2019.

       2.      The hackers were extremely sophisticated and undertook measures to conceal their

identities, including through their use of virtual private networks (“VPNs”).

       3.      Nevertheless, through direct and circumstantial evidence, including information

provided by third-party sources with direct and personal knowledge of relevant facts (e.g. part D

below), and after a diligent inquiry, Plaintiffs have an informed belief that Defendants are

responsible for the unauthorized access and theft of Plaintiff’s legally protected electronic

communications and other materials.

       4.      Indeed, Plaintiffs have interviewed numerous former GRA employees who have

tied Chalker and GRA directly to the hacking, surveillance, and other covert projects for Qatar.

The declaration of one of these former GRA employees, made under penalty of perjury, is attached

here and is incorporated into the pleading.

       5.      Plaintiffs bring this action to recover damages owed to them under the federal

statutes prohibiting computer hacking, theft of trade secrets, and racketeering, as well as related

claims arising under California statutory and common law.

                                              PARTIES

       6.      Broidy is a California citizen and the chief executive officer, chairman, and sole

member of BCM.




                                                  2
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 4 of 85




       7.      BCM is a venture capital investment company organized under Delaware law and

headquartered in California. Because Broidy is BCM’s sole member, BCM is a citizen of

California.

       8.      GRA is cybersecurity company organized under Delaware law and headquartered

in New York. Because Chalker is GRA’s sole member, GRA is a citizen of New York.

       9.      Chalker is the owner and sole member of GRA, which he operates and controls.

Chalker is a citizen, resident, and domiciliary of New York. Chalker also owns and/or controls

several other affiliated entities, including but not limited to GRA Maven, GRA Quantum, GRA

EMEA, GRA Research, Qrypt, Bernoulli Limited, and Toccum Limited. At all relevant times, all

of these entities and their employees and agents operated under the direct control and domination

of GRA and Chalker.

       10.     Mandich was the mastermind behind the GRA’s secretive covert operations. At all

relevant times, Mandich was acting within the scope of his employment and under Chalker’s direct

control.

       11.     At all relevant times, Garcia was GRA’s Chief Security Officer and was acting

within the scope of his employment and under Chalker’s direct control.

       12.     Courtney Chalker is Chalker’s brother and carried out the destruction of electronic

devices and other materials containing evidence of the hacking on behalf of GRA and under Kevin

Chalker’s direct control.

                                JURISDICTION AND VENUE

       13.     The Court has diversity jurisdiction under 28 U.S.C. § 1332(a), because Plaintiffs

are California citizens whereas Defendants are not. Additionally, the amount in controversy far

exceeds $75,000.



                                                3
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 5 of 85




       14.     The Court also has federal question jurisdiction under 28 U.S.C. § 1331, because

this action arises under the laws of the United States.

       15.     The Court has supplemental jurisdiction under 28 U.S.C. § 1367(a), because

Plaintiffs’ state law claims are so related to the federal claims that they form part of the same case

or controversy.

       16.     The Court has original jurisdiction under 18 U.S.C. § 1836(c).

       17.     The Court has personal jurisdiction over GRA because it is headquartered in New

York, and thus resides in and is domiciled in this state.

       18.     The Court has personal jurisdiction over Chalker because he resides in and is

domiciled in New York.

       19.     Because GRA and Chalker are New York residents, this Court has personal

jurisdiction over the remaining Defendants under 18 U.S.C. § 1965.

       20.     Also, because the remaining Defendants were acting as agents of GRA and Chalker,

the Court has personal jurisdiction under New York CPLR § 302(a)(1).

       21.     This Court is the proper venue under 28 U.S.C. § 1391(b)(2) and (3), because a

substantial part of the events giving rise to Plaintiffs’ claims occurred in this district, and at least

one Defendant resides in this district.

       22.     This Court is the proper venue under 18 U.S.C. § 1965(a).

                                      FACTUAL BACKGROUND

A.     At the Time the Hack-and Smear Operation Began in 2017, Qatar Had a Motive to
       Silence Broidy Because of His Increased Criticism of Qatar’s Support for Terrorism.

       23.     Elliott Broidy is a staunch supporter of Israel and a recognized leader in

conservative Jewish political circles. He has a long history of investing personal time and

resources in anti-terrorist causes.


                                                   4
      Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 6 of 85




        24.     Broidy served on the Department of Homeland Security’s Advisory Council

between 2006 and 2009. There, he contributed to the report of the Council’s Future of Terrorism

Task Force, which called for the elimination of terrorist safe havens throughout the world. Broidy

has long provided major funding for the Joint Regional Intelligence Center (“JRIC”), which is a

cooperative effort between U.S. federal, state, and local law enforcement agencies to collect,

analyze, and disseminate terrorism-related threat intelligence. The JRIC continues to serve as the

Regional Threat Assessment Center for the Central District of California. Although Broidy is a

committed Republican, his contributions in the area of counter-terrorism and America’s national

security have been widespread and bipartisan, including his efforts via the America Matters

Foundation, American Freedom Alliance, the George Washington University Center for

Homeland Security, the Hudson Institute, the Manhattan Institute of New York, the Pacific

Council on International Policy, and the Panetta Institute for Public Policy.

        25.     As part of those efforts, Broidy has been an outspoken critic and opponent of the

State of Qatar because of the country’s ties to terrorism. Broidy’s efforts to shed light on Qatar’s

support for terrorism and its influencing of U.S. foreign policy to be less harsh toward Iran and

terrorist groups like Hamas have included, among other things, financial support for think tanks

and other non-profits, correspondence with elected and governmental officials, and op-eds in

national publications. The Department of Justice has “impaneled a grand jury in Washington, DC.

[as part of an] ongoing probe into Qatar’s influence efforts by unregistered operatives,”1 and in

recent months, DOJ has demanded that multiple Qatari-controlled entities must register under




1
 https://www.motherjones.com/politics/2021/04/businessman-charged-with-foreign-lobbying-crimes-paid-for-
secret-trump-white-house-mission-to-qatar/

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      Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 7 of 85




FARA, including Al Jazeera2 and the Qatar-America Institute. 3 Neither Chalker nor any of his

GRA entities has registered under FARA for representation of Qatar.

        26.      Qatar is widely recognized as a sanctuary for terrorist leaders and organizations,

including but not limited to Al Qaeda (including Al-Shabab and Al Qaeda in Syria, also known as

Al-Nursa Front or Jabhat Al-Nursa), Hamas, the Taliban, and the Muslim Brotherhood. Indeed,

the U.S. Department of Treasury has sanctioned numerous individuals residing in Qatar for raising

funds for Al Qaeda. Qatar also has permitted Hamas leaders to operate freely within Qatar and has

provided substantial funding to the group, despite the threat of international political and economic

sanctions for such support. Similarly, Qatar has allowed the Taliban to operate and maintain an

office in Doha since at least 2014. Qatar has given safe haven to many leaders of the Muslim

Brotherhood after their expulsion from Egypt by the Egyptian government. And Qatar has allied

itself in close strategic partnership with regimes governing Iran and Russia.

        27.      Broidy has for years viewed Qatar as a major threat to U.S. Security. He has funded

public initiatives, such as conferences, to educate Americans about Qatar’s support for terrorism.

        28.      Broidy’s efforts were particularly prominent in 2017. On May 23, 2017, the

Foundation for Defense of Democracies (“FDD”) hosted a conference entitled “Qatar and the

Muslim Brotherhood’s Global Affiliates: New U.S. Administration Considers New Policies.”

        29.      The speakers at the conference repeatedly argued that Qatar was a state-sponsor of

terrorism and that the U.S. should undertake efforts to combat it. For example, Jake Sullivan (the

current National Security Advisor) stated that, “we are not placing a high enough priority on the




2
  https://www.axios.com/doj-enforce-al-jazeera-foreign-agent-ruling-a5a58129-5a12-4aee-8a2b-cbfbb7d8f900.html
3
  https://www.rubio.senate.gov/public/index.cfm/2020/8/rubio-and-zeldin-lead-members-of-congress-in-urging-al-
jazeera-s-registration-under-fara

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      Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 8 of 85




national security threats to the United States that is [sic] emanating from the financing of terror

groups by Qatar and other countries. And we have to be doing more on that.”

        30.      Broidy partly financed the FDD’s conference.

        31.      Five months later, on October 23, 2017, the Hudson Institute hosted a similar

conference entitled “Countering Violent Extremism: Qatar, Iran, and the Muslim Brotherhood.”

        32.      Like the speakers at the FDD’s conference earlier in the year, the speakers at the

Hudson Institute’s conference strongly condemned Qatar’s sponsorship of terrorism and argued

for policy changes.

        33.      Broidy partially financed the Hudson Institute’s conference.

        34.      Broidy also supported President Trump’s 2016 political campaign, and once Trump

took office in January 2017, Broidy continued voicing his strong concerns about Qatar at the

highest levels of the U.S. government

        35.      Around the same time, President Trump, with whom Broidy had discussed Qatar,

criticized the country as “a funder of terrorism at a very high level” and made comments in support

of an embargo. President Trump also publicly denounced Qatar through a tweet and during a

Republican National Committee meeting in 2017.

        36.      During that same month, Qatar’s Middle Eastern neighbors were equally unnerved

by Qatar’s support for terrorist organizations. Saudi Arabia, the UAE, Egypt, Bahrain, and Yemen

announced that they were cutting off diplomatic relations with Qatar, and blocking all land, air,

and sea travel to and from Qatar.4




4
 Anne Barnard & David D. Kirkpatrick, 5 Arab Nations Move to Isolate Qatar, Putting the U.S. in a Bind, N.Y.
Times (June 5, 2017), https://www.nytimes.com/2017/06/05/world/ middleeast/qatar-saudi-arabia-egypt-bahrain-
united-arab-emirates.html.

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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 9 of 85




       37.     One of Qatar’s top D.C. lobbyists, Nicolas Muzin, had also identified Broidy to the

Qatari Embassy as an impediment to Qatar’s foreign policy interests in the United States. Muzin

has signed FARA filings on behalf of his company, Stonington Strategies LLC, which is a

registered foreign agent of Qatar. Plaintiffs sued Muzin separately in the U.S. District Court for

the District of Columbia, captioned Broidy Capital Management, et al. v. Nicholas D. Muzin, et

al, No. 1:19-cv-0150 (DLF). Muzin’s motion to dismiss in that litigation was denied in part by the

district court, and the case is currently on appeal in the D.C. Circuit Court of Appeals.

       38.     In light of all this, Qatar viewed Broidy as a serious threat to its international

standing and, more specifically, to its relationship with the U.S., both of which Qatar feared could

ultimately result in the tiny emirate losing some or all of its hosting privileges for the 2022 World

Cup. Qatar therefore had a strong incentive to silence Broidy, so as to prevent further criticism

and what it considered to be unfavorable changes to U.S. policy.

B.     To Help Neutralize the Threat, Qatar Reached Out to Its Longtime Business
       Associate, Kevin Chalker.

       39.     As a result of the above, Qatar had motive to neutralize a powerful and high-profile

U.S. businessman in Broidy. But it needed to do so in a clandestine and covert manner to maintain

deniability and avoid any official connection to the misconduct.

       40.     Qatar, Chalker, and GRA had, at the time, an existing business relationship related

to denigrating Qatar’s critics in order to enhance the wealthy emirate’s image and standing in the

U.S. and elsewhere more generally. According to former GRA personnel, these denigration

campaigns were executed in large part by utilizing tradecraft and other clandestine skills that

Chalker and various GRA employees acquired while working for the CIA or other arms of the

U.S. government.




                                                 8
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 10 of 85




       41.     Indeed, Chalker, through GRA and its affiliated entities, had received tens of

millions of dollars for such work.

       42.     As a result, GRA was perfectly suited to be engaged by Qatar in an effort to

discredit and silence Broidy, thereby neutralizing the effect of his criticisms of Qatar.

       i.      GRA markets its cybersecurity skills as though it is a legitimate consulting
               firm, even though it only made money through its “special projects” for Qatar.

       43.     GRA’s website says that the company provides “the highest caliber of security

products and advisory services to governments and multinational corporations worldwide.”

       44.     Chalker describes his company as “an international strategic consultancy

specializing in cybersecurity, military and law enforcement training, and intelligence-based

advisory services.”

       45.     Despite marketing itself as a consultant and government contractor, GRA’s only

meaningful revenue came from so-called “special projects” for the State of Qatar, according to

former GRA employees.

       ii.     GRA’s personnel are hand-picked from the special ops and intelligence
               communities and are more than capable of covert hacking.

       46.     GRA is comprised of former intelligence, national security and military personnel

trained in all levels of deception, disinformation, and cyber warfare.

       47.     Founded and led by Chalker, a former CIA officer, GRA specifically employs

experienced hackers from the intelligence and military communities.

       48.     For example, former GRA employee John Sabin was identified by the New York

Times two months before the start of the hack of Plaintiffs as “a former hacker for the National




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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 11 of 85




Security Agency,”5 and was also described as “now a director of network security at GRA

Quantum.”

        49.      That same October 2017 article ended with the implication that Sabin himself had

actually already managed to circumvent some of the most advanced commercially available

encryption technology, including for Gmail: “When asked if he had already circumvented physical

multifactor authentication devices like Google’s keys, Sabin would offer only: ‘No comment.’”

        50.      GRA and its associates are experts in the tactical collection of hard-to-access

information.

        51.      Indeed, GRA holds two patents related to resonant cryptography—a system

Chalker co-invented as a method for the secure transmission of data across any network. The

patent applications are premised on Chalker’s hacking expertise. Chalker’s own filings showcase

his deep understanding of system vulnerabilities to “brute force attack” (cracking a password or

other security feature by automated, trial-and-error mechanisms) and argues in one application that

it is a “profound understatement” to say that “the current security architecture is woefully

inadequate.”6 That filing further explains that “[c]omplex systems break and are compromised in

complex ways rarely understood or appreciated by their naïve makers. The essence of modern day

hacking is based on this principle and only grows with technical complexity . . . .”7

        52.      Chalker’s patent argues that no current system is safe from well-funded hackers:

        The battle to make devices/hardware/software perfectly secure has already been
        lost. The signature based tools of firewalls and antivirus software have failed
        because they cannot predict the future profile of infections. . . . [I]f your company
        is a priority target entity at all costs, say by a determined and well-funded state

5
  See Brian X. Chen & Nicole Perlroth, How Google’s Physical Keys Will Protect Your Password, N.Y. Times (Oct.
25, 2018), https://www.nytimes.com/2017/10/25/technology/
personaltech/ google-keys-advanced-protection-program.html. In addition, GRA’s Managing Director of its London
office, Roy Wilson, is a former covert officer in the CIA’s clandestine service, and its former Managing Director of
its Washington, DC office, Will Rankin, is a former top CIA expert on illicit finance.
6
  US Patent No. 9,660,803, col. 2 ll. 63-67, col. 3 ll. 60-62. (issued May 23, 2017).
7
  Id. at col. 3 ll. 3-7.

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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 12 of 85




        actor, escalating resources will be deployed to break into the network normally
        reserved for the hardest targets.8

        53.     And GRA makes no secret of its ability to use this expertise offensively to penetrate

computer networks. GRA has advertised on its website its expertise with “penetration testing,”

which refers to hacking into a network to identify its security weaknesses. The underlying skills

for penetration testing can be employed offensively or defensively. If an entity has hired an outside

consultant to help identify its weaknesses, it is considered a “white hat” operation that is being

used defensively to help that entity shore up its security system. But if the entity did not grant that

consultant permission to conduct “penetration testing” on its network, and the consultant

penetrates the network anyway, it is the same skillset being used in a wholly different, and illegal,

type of operation, commonly referred to as a “grey hat” or “black hat” operation.

        54.     GRA’s current website highlights case studies involving “penetration testing” and

“pioneering military training.”

        55.     In October 2015, GRA’s website more explicitly marketed “Grey Hat + Penetration

Testing” that described GRA’s expertise in the exact sort of hacking techniques employed against

Broidy and BCM:

        GRA’s Grey Hat + Pen Testing (GHPT) service is a comprehensive suite designed
        to evaluate an organization’s perimeter, public, and private network security. We
        utilize advanced techniques developed from years of expertise within the US
        government and private sector. These experiences include penetrating the networks
        of America’s adversaries, such as, terrorists and narcotics organizations.9




8
 Id. at col. 4 ll. 6-22 (emphasis added).
9
 http://web.archive.org/web/20151002155106/http:/globalriskadvisors.com/;
http://web.archive.org/web/20150830070535/http://www.globalriskadvisors.com/wp-content/uploads/Global-Risk-
Advisors-Grey-Hat-Penetration-Testing.pdf

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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 13 of 85




        56.     And in a 2015 video promoting GRA’s Grey Hat service, GRA admits to having

“advanced techniques to penetrate target networks,” including private sector, private networks.10

The video states that GRA employs both common attack methods to intrude into servers and, also,

“uncommon and customized attacks,” including custom “spear phishing” campaigns.

        57.     Mandich, a former CIA officer, worked for GRA and under Chalker’s direct control

at all relevant times. According to former GRA personnel, Mandich’s job duties included

designing the “special projects” at the direction of Chalker.

        58.     Garcia, a former U.S. Marine, worked as GRA’s chief information officer and

under Chalker’s direct control at all relevant times. According to former GRA personnel, Garcia

assisted Chalker by destroying evidence, including electronic devices, of the Broidy hacking after

Broidy initiated litigation.

        59.     Likewise, Courtney Chalker, acting as an agent of GRA and under his brother

Kevin Chalker’s direct control, destroyed evidence of the Broidy hacking, according to former

GRA personnel

        60.     While GRA had hackers in a number of locations, many of the GRA hackers

working on this campaign were located in GRA Research’s offices in Northern Virginia. GRA

broadly employed many former intelligence and Special Forces personnel with offensive hacking

and surveillance skills developed while in government service, with a large team in Northern

Virginia that was referred to as the “Reston Group” and affiliated with GRA Research. The Reston

Group was centrally involved in many “special projects” hacking and surveillance operations,

including the hack-and-smear operation targeting Plaintiffs.




10
  Global Risk Advisors, GRA GreyHat Penetration Testing Service, You Tube (Oct. 28, 2015),
https://www.youtube.com/watch?v=BLAYD64JxXQ

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    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 14 of 85




       61.     The head of the Reston Group was a former CIA official with information security

expertise. Other members in the Reston Group included a software engineer formerly with the

military, a former member of the Army’s special operations forces, and others with prior work

experience in cyberwarfare and employing disinformation in furtherance of campaigns to denigrate

targeted entities. The Reston Group included one particularly trusted operative, Defendant

Anthony Garcia, who was GRA’s Chief Security Officer.

       iii.    Chalker leveraged his history with Qatar and the skills of his employees into a
               lucrative business relationship.

       62.     Chalker’s relationship with Qatar dated back to his time in the CIA, according to

former GRA personnel.

       63.     Qatari official Ali al-Thawadi, known as “Shep,” is the Chief of Staff to the Qatari

Emir’s brother, and has long been GRA’s primary contact. Shep worked with GRA on the World

Cup special projects. GRA frequently provided updates to Shep regarding surveillance activities,

including of American citizens.

       64.     According to former GRA personnel, when Abdullah Al-Thawadi (a high-ranking

Qatari official) was abducted for ransom in or around 2009, his sons turned to Chalker for

assistance. Chalker frequently bragged to employees and non-employees that he successfully

obtained Al-Thawadi’s release, thereby earning the trust of Qatari officials.

       65.     According to former GRA personnel, Qatar subsequently engaged GRA to assist

Qatar in its efforts to secure the bid for the World Cup 2022. This and similar work were referred

to as “special projects.” GRA’s efforts were ultimately successful, as Qatar was awarded the

World Cup bid and has managed to retain it since then, despite strong criticism that was eventually

silenced.




                                                13
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 15 of 85




        66.      For years, GRA worked to help Qatar win its blatantly corrupt bid for the 2022

World Cup and then to maintain it, even when the bid was on the verge of being revoked because

of growing concern with Qatar’s unsavory conduct, including the use of slave labor for

construction.

        67.      For example, a widely-covered report by Amnesty International documented slave-

like labor conditions in Qatar’s construction sector where workers went without pay for months

on end (or sometimes without pay at all), had their passports confiscated so they could not leave

the country, and were forced to live in “squalid” accommodations.11

        68.      In connection with that bid, Qatar has been credibly accused of bribery on a massive

scale, offering to pay hundreds of millions of dollars to FIFA officials to secure hosting privileges.

        69.      Qatar’s corrupt bid eventually led to the convictions or guilty pleas of over sixteen

individuals,12 and the criminal investigation is not yet over—a superseding indictment outlining

additional bribery charges was filed as recently as April 2020.13

        70.      Indeed, the younger brother of the Qatari Emir, Sheikh Mohamad bin Hamad Al

Thani, known as “MBH,” told third parties that Qatar was indebted to Chalker for the work he had

done on the World Cup.

        71.      Given the prior successes of GRA and Chalker in its covert work for Qatar, it only

made sense that Qatar would approach Chalker about silencing Broidy when Broidy’s criticism of

Qatar peaked in 2017.




11
   Amnesty International, The Dark Side of Migration: Spotlight on Qatar's Construction Sector Ahead of the World
Cup (Nov. 18, 2013), https://www.amnesty.org/download/Documents/16000/mde220102013en.pdf
12
   Press Release, U.S. Dep't of Justice, Sixteen Additional FIFA Officials Indicted for Racketeering Conspiracy and
Corruption (Dec. 3, 2015), https://www.justice.gov/opa/pr/sixteen-additional-fifa-officials-indicted-racketeering-
conspiracy-and-corruption.
13
   See United States v. Webb, et al., No. 1:15-CR-00252 (E.D.N.Y.) (Apr. 6, 2020 Superseding Indictment).

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    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 16 of 85




       72.      At the time it won the World Cup hosting rights in 2010, and during the years that

followed, Qatar’s successful bid was met with enormous controversy, highlighting its precarious

standing in the worldwide soccer community—a community that had never before voted to allow

a Middle Eastern nation to host its premier event. Holding on to the 2022 World Cup—and the

tremendous economic and reputational boost that goes along with it—was a matter of desperate

national urgency.

       73.      In August 2012, a formal inquiry was launched to investigate Qatar’s corrupt

winning bid two years earlier by the International Federation of Association Football (“FIFA”),

which is the global body governing competitive soccer, including the World Cup.

       74.      The investigation FIFA launched in 2012 documented extensive corruption,

including bribery and astroturfing, utilized by Qatar to win the 2010 bid for the 2022 World Cup,

and it was detailed in a 353-page report, known publicly as the “Garcia Report,” based on the name

of the lead investigator, former U.S. Attorney Michael J. Garcia. Even though the Garcia Report

was submitted to FIFA in or around November 2014, it was not released to the public until a

German news outlet in June 2017 published a leaked copy of the PDF of the full report.

       75.      GRA was paid handsomely by Qatar for their work supporting the corrupt World

Cup 2022 Bid.

       76.      GRA’s work for Qatar grew to expand beyond the World Cup. GRA was retained

in part to target Qatar’s political enemies through cyber operations and public relations, to protect

Qatar’s geopolitical interests. According to former GRA personnel, Qatar retained GRA to execute

these larger-scale programs on its behalf and entered into consultancy arrangements with GRA

worth at least $100 million, primarily for covert conduct.




                                                 15
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 17 of 85




        77.     GRA’s covert cyber operations for Qatar involved a pattern of attacks against

political targets involving similar fake news alerts, malicious Google login pages, email addresses

designed to mimic legitimate Google security addresses, falsified two-factor authentication

messages, and the use of Mail.ru to control victims’ accounts.

        78.     As has been publicly reported in The New York Times and other media outlets,

forensic evidence indicates that Qatar, and therefore GRA, were likely involved in targeting over

1,000 people and entities via cyberattacks similar to those deployed against Plaintiffs here,

including prominent officials from countries like Egypt and the UAE, and the United States,

including an American political columnist and activist, Rabbi Shmuley Boteach, all of whom are

known as outspoken critics of Qatar.14

        79.     One of the targeting projects was highly successful and has particular salience here:

GRA’s hacking and surveillance of the UAE Ambassador to the United States. In or around April

and May 2017, approximately a half-year before it attacked Broidy, GRA conducted similar

cyberattacks against the UAE Ambassador, who has extensive interactions with politically active

Americans. in an effort to improve Qatar’s image with the United States by not only discrediting

him, but also intimidating (and ultimately silencing) U.S. government officials and other

Americans who were either critics or potential critics of Qatar.

        80.     As with Broidy, hacked emails were disseminated to the media by an anonymous

“source” identified only by an alias— “GlobalLeaks”—in an effort to embarrass not just the

primary target, but also politically active associates, ultimately silencing active critics and

preventing others from voicing their own criticisms.


14
  See Shmuley Boteach, "Qatar's War to Destroy Pro-Israel Jews," Jerusalem Post, Oct. 8, 2018,
https://www.jpost.com/Opinion/Qatars-war-to-destroy-pro-Israel-Jews-568942; Eli Lake, "Russian Hackers Aren't
the Only Ones to Worry About," Bloomberg, Sept. 18, 2018, https:/www.bloomberg.com/opinion/articles/2018-09-
18/russian-hackers-aren-t-the-only-onesto-worry-about.

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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 18 of 85




        81.      Mandich was the mastermind behind the Global Leaks operation, overseeing the

execution of every phase of the operation. On information and belief, John Sabin and Defendants

Garcia and Kevin Chalker also worked with Mandich in carrying out the Global Leaks campaign.

        82.      In June 2017, The Huffington Post wrote one of the first stories under the headline

“Someone Is Using These Leaked Emits To Embarrass Washington’s Most Powerful

Ambassador.”15 The article stated that, “In private correspondence, [UAE Ambassador] Otaiba—

an extremely, powerful figure in Washington, D.C., who is reportedly in ‘in almost constant phone

and email contact’ with Jared Kushner.”

        83.      Another article, published in The Intercept, was titled “Diplomatic Underground:

The Sordid Double Life of Washington’s Most Powerful Ambassador.”16 and was clearly designed

to embarrass the UAE Ambassador. The article relied on hacked emails, and notes that the emails

“began to dribble out just as a geopolitical row between the UAE and its neighbors in Qatar came

to a head.”

        84.      An article in The New York Times, based on hacked emails. was likewise intended

to embarrass the UAE. The article states: “Anonymous hackers have provided a long series of

leaked emails from Ambassador Yousef al-Otaiba’s Hotmail account to The New York Times and

other news organizations over the past two years in an apparent campaign to embarrass the U.A.E.

and benefit Qatar.”17

        85.      There are striking similarities to the attack on Elliott Broidy. Both operations relied

on producing highly curated and specifically-themed PDFs, which were disseminated to some of



15
   Akbar Shahid Ahmed, Someone Is Using These Leaked Emails To Embarrass Washington's Most Powerful
Ambassador, The Huffington Post (June 3. 2017).
16
   Ryan Grim, Diplomatic Underground: The Sordid Double Life of Washington's Most Powerful Ambassador, The
Intercept (Aug. 30, 2017).
17
   David D. Kirkpatrick, Persian Gulf Rivals Competed to Host Taliban, Leaked Emails Show, N.Y. Times (July 31,
2017).

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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 19 of 85




the same friendly reporters, including Ryan Grim (The Intercept), Bradley Hope (The Wall Street

Journal), and David Kirkpatrick (The New York Times), with stories based on hacked materials

still being published well over a year after the publication of the first such article. There are no

publicly-known other similar campaigns that disseminated hacked materials via curated, themed

PDFs, let alone over many months to those same reporters. Additionally, Howard was among the

public relations professionals pitching stories based on the hacked material, just as he would later

do with the Broidy hack. And the execution of the two attacks included several tactics in common,

such as: (I) use of messages from Gmail accounts that appeared to be official; (2) messages that

displayed a correct but redacted phone number for the victim; (3) deployment of evasion tactics to

help bypass automatic spam filter and other security alerts; (4) use of private registration services

and “throw away accounts” from the Mail.Ru group; and (5) maintenance of multiple phishing

sites but hosting them on their own dedicated servers, using different subdomains for different

campaigns.

        86.      Indeed, the similarities were lost on no one. The BBC quoted an unnamed “source

familiar” with the hack as saying that the Broidy attack was “rinse and repeat on Otaiba.”18

        87.      Moreover, the UAE Ambassador hack was successful in silencing certain critics of

Qatar. For example, the Foundation for the Defense of Democracies (FDD) had consistently

criticized Qatar’s support for Islamic extremism and terrorism. On May 23, 2017, FDD hosted

(with Plaintiffs’ involvement) a conference largely focused on exposing Qatar’s misdeeds. Less

than a week later, after learning that their communications had been intercepted in the UAE

Ambassador hack, FDD executive director Mark Dubowitz informed Mr. Broidy that the think

tank would no longer publicly criticize the wealthy emirate because they feared potential Qatari


18
  Suzanne Kianpour, Emails show UAE-linked effort against Tillerson (Mar. 5, 2018).
https://www.bbc.com/news/world-us-canada-43281519

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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 20 of 85




reprisal. Two months later, the only FDD scholar whose work had substantially focused on Qatar

left the think tank, and no one was hired or reassigned to replace his work relating to Qatar.

       88.     GRA’s numerous cyberattacks have extended over several years and represent a

pattern of unlawfully accessing victims’ computer systems to extract private information or other

items of value with which to attack or damage the enemies of its clients, typically for the purpose

of silencing criticisms of Qatar’s support for terrorist groups or its abysmal record on human rights.

       89.     In addition to cyberattacks in which information was stolen. Qatar has used

unlawful and unauthorized access to computer systems to plant documents that would appear to

incriminate their purported enemies.

       90.     These cyberattacks are all part of the pattern of racketeering activity in which the

Enterprise conspirators have engaged with the common purpose of silencing critics of Qatar.

       91.     GRA’s work for Qatar extended well beyond the World Cup. Even though Qatar

had gained notoriety in the years following its successful 2010 bid to host the 2022 World Cup as

a high-tech “dirty tricks” operator engaged in astroturfing and hacking, Qatar lacked the internal

capability to carry out sophisticated hacking and surveillance operations. This void in Qatar’s

capabilities was why the tiny emirate paid GRA Defendants millions of dollars in and around 2018

to conduct “Operation Deviant,” whose primary purpose was teaching members of Qatar’s Special

Forces and Intelligence services both defensive and offensive cybersecurity skills, including

advanced, sophisticated skills that trained former U.S. intelligence and military operatives are

typically barred from sharing or conferring unto foreign governments. According to former GRA

personnel, Chalker and GRA routinely ignored U.S. legal requirements to obtain International

Traffic in Arms Regulations (ITAR) and other regulatory approvals, despite the lifetime ban on

former CIA agents conferring tradecraft knowledge and skills to foreign governments. Chalker



                                                 19
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 21 of 85




divulged classified information on tradecraft, as well as sensitive equipment and dual-use

technology to the Qataris in support of this illicit work. According to former GRA personnel,

these disclosures harmed U.S. national security by helping enhance the covert, illicit capabilities

of a known supporter of terrorist groups, including al Qaeda and Hezbollah.

       92.     In the years immediately following Qatar’s winning World Cup bid, GRA’s role

with the wealthy emirate grew to encompass protecting Qatar’s geopolitical interests primarily by

planning and executing covert operations to target Qatar’s political enemies through cyber

operations and public relations. According to former GRA personnel, Qatar retained GRA to

execute these larger-scale programs on its behalf and entered into consultancy arrangements with

GRA worth at least $100 million, primarily for covert conduct.

       93.     Phone records show that in the weeks leading up to the Broidy hacks, Shep had

multiple calls with Joey Allaham—one of the public relations officials who was involved in the

media dissemination and use of the Broidy hacked materials.

       94.     Tarek Hashem, Shep’s senior adviser, acted as Shep’s “eyes and ears” to ensure the

progress of the hack-and-smear campaign and to relay information between GRA and Qatar.

C.     GRA Hacks BCM’s Server, Resulting in Thousands of Malicious Connections to
       Broidy’s Email Accounts.

       95.     Beginning in December 2017, Broidy’s family and associates began receiving

spearphishing emails.

       96.     The GRA Defendants first targeted people who were close to Broidy—including

his wife and his executive assistant—to obtain their respective log-in credentials to BCM’s private

server where the confidential documents were stored.




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     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 22 of 85




        97.      “Spearphishing is a targeted attempt to steal sensitive information such as account

credentials or financial information from a specific victim, often for malicious reasons.”19

        98.      On December 27, 2017, four spearphishing emails were sent to Broidy’s wife,

Robin Rosenzweig, and a Broidy Associate. In the following week, Rosenzweig and the Broidy

Associate received at least another dozen spearphising emails.

        99.      Chalker celebrated the launch of the spear phishing campaign that very night, on

Wednesday, December 27, 2017, by taking associates to the Sapphire Gentlemen’s club in New

York City.

        100.     The emails were disguised to appear as though they were Google security alerts,

and they asked the Broidy Associate and Rosenzweig to enter their Gmail login credentials into a

malicious link embedded in the emails. Unfortunately, Rosenzweig unwittingly complied.

        101.     The link in the spear phishing email was designed to appear as if it would direct

Ms. Rosenzweig to a legitimate URL on Google.com, but (not readily apparent without viewing

the underlying source code) the link was in fact a TinyURL link that directed her to a professionally

designed website that was intended to trick victims into believing it was actually an authentic

Google account login page. TinyURL is a redirecting service that provides shortened URLs that

redirect a website visitor to the website associated with the longer, masked URL. It is known to be

used by hackers and scammers to avoid detection and circumvent spam and malware filters. When

Rosenzweig clicked the TinyURL link, she was redirected to a website that contained Google’s

logo and appeared to be an authentic Google account update page—but it was in fact a fraudulent

login page.




19
     See https://digitalguardian.com/blog/what-is-spear-phishing-defining-and-differentiating-spear-phishing-and-
phishing.

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    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 23 of 85




       102.    On or about January 3, 2018, the GRA Defendants used the “Mail.ru” service to

access and modify Ms. Rosenzweig’s Gmail account without her consent. “Mail.ru” signifies a

Russian email service that publishes an app that can be operated by users physically located around

the world, including in the United States, to send and receive emails on Mail.ru or other email

services like Gmail. Here, the GRA Defendants used the “Mail.ru” to read, send, delete, and

manage emails and other documents in Ms. Rosenzweig’s Gmail account, without her knowledge

or consent, which in turn enabled them to obtain her log-in credentials for the BCM server.

       103.    Indeed, the GRA Defendants even modified Ms. Rosenzweig’s account settings so

as to keep her from discovering that her email had been hacked. They arranged for emails

containing “Mail.ru,” “viewed,” or “alert” to be marked as read and moved immediately to her

trash folder. The GRA Defendants did this to ensure that any legitimate security alerts would not

be viewed by Ms. Rosenzweig. And unbeknownst to Ms. Rosenzweig, on January 4, 2018, she

received a true security alert—that went directly to her trash folder—notifying her that a user or

users of the Mail.ru app had obtained access to read, send, delete, and manage her Gmail account,

all without her awareness or consent.

       104.    On January 14, 2018, another Broidy associate, Erica Hilliard (“Hilliard”), received

two spearphishing emails, which were similarly disguised to look like security alerts from Google.

Like her colleagues, Hilliard unwittingly entered her Gmail login credentials, thereby

compromising her account.

       105.    Examples of the highly sophisticated spearphishing emails are shown below:




                                                22
      Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 24 of 85




        106.   Without authorization, Defendants logged into Rosenzweig’s Gmail account on

January 4, 7, 9, and 17, and they logged into Hilliard’s Gmail account on January 14, 15, 16, and

17.

        107.   By accessing the Gmail accounts of Rosenzweig and Hilliard, Defendants obtained

the login credentials for the Gmail account of another BCM employee, Jenna Pressley Caganap

and used those credentials to access Caganap’s Gmail account on January 4.

        108.   Through the Gmail accounts of Rosenzweig, Hilliard, and/or Caganap, Defendants

obtained the login credentials for several BCM email accounts.

        109.   On January 16, Defendants accessed the BCM server, without authorization,

through the BCM email accounts of Broidy, Caganap, and Hilliard, as well as other BCM

employees Michelle Levi, James Sexton, and Jessica Stephens.

        110.   BCM has an exchange server physically located in Los Angeles, California, that is

connected to the internet and used to engage in commerce and communications throughout the

country. The server allows BCM employees to send and receive business and occasional personal

emails. Broidy and other employees, including those identified in the preceding paragraph, have


                                               23
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 25 of 85




secure email accounts on the BCM server containing private communications that require at least

a username and password for access.

       111.    From January 16 to February 25, 2018, BCM’s server was subjected to

approximately 325,000 malicious connections from 59 unique internet protocol (“IP”) addresses.

       112.    Two of these connections were traced to a single IP address in Qatar. Eight of the

connections were traced to an IP address belonging to a hotel in Killington, Vermont. Four of the

connections were traced to an IP address belonging to an acupuncture business in Wallingford,

Vermont.

       113.    The remaining hundreds of thousands of connections were disguised by VPNs and

are untraceable.

       114.    During these attacks, numerous email communications and documents were

viewed, stolen, and/or altered without authorization. These included, among other things, Broidy’s

personal emails and documents, contacts file, business calendar, business emails and documents,

signed contracts, attorney-client privileged communications and documents, attorney-client work

product, usernames, and passwords to access other non-Google accounts, including email accounts

on the computer network of BCM, including Broidy’s corporate email account, financial

information, and confidential business process and methods information.          The server also

contained corporate and personal documents, copyrighted material, contracts, business plans, and

other confidential and sensitive proprietary information, to which Defendants had full access.

       115.    Broidy filed a lawsuit shortly after the hacking occurred. The lawsuit triggered a

panic within GRA, which was eager to destroy the evidence inculpating it in the hacking scheme.

Kevin Chalker instructed GRA’s Chief Security Officers, also a GRA Research hacker in the

Reston Group, Anthony Garcia, to wipe GRA’s computers, phones and other devices clean of any



                                               24
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 26 of 85




damaging evidence. Garcia not only complied with that instruction, but he removed certain hard

drives, phones and devices with incriminating evidence from GRA’s offices, and brought them to

a remote location, where the devices were destroyed and ultimately discarded. Courtney Chalker

knowingly assisted Garcia with the destruction of evidence.

D.     Former GRA Employees and Associates Confirmed That Chalker and GRA Were
       Responsible for the Hack-and-Smear of Broidy and BCM.

       116.       Chalker told GRA personnel that Chalker and GRA were responsible for the hack-

and-smear operation targeting Broidy/BCM.

       117.       Chalker also told GRA personnel that Chalker, Garcia, and Courtney Chalker had

destroyed electronic devices and other materials containing evidence of the Broidy/BCM hacking

as soon as this litigation was filed. This was done to conceal the role of GRA and Kevin Chalker

in the hacking.

       118.       In addition to the hacking, Chalker and GRA also directed the electronic and

physical surveillance of Broidy, according to former GRA personnel.

       119.       Attached as Exhibit A is a declaration from a former GRA employee attesting to

well-founded knowledge of GRA’s involvement of the Broidy / BCM hack-and-smear operation.

The declaration is anonymous to protect the security and safety of this whistleblower from

retaliation from Defendants. Defendants have a history of threatening former employees. Plaintiffs

have also offered to submit to the Court for in camera review a copy of the original, signed

declaration for the Court to verify the signature and the identity of the declarant. In addition,

undersigned counsel have interviewed other former GRA employees and can attest to his

credibility as to the statements made in the declaration.

E.     In the Months Leading up to the Hack-and-Smear Operation, Chalker’s Off-Shore
       Companies Received Massive Payments from Qatar.



                                                 25
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 27 of 85




       120.   According to information provided by former GRA personnel, Qatar paid Chalker

through three off-shore entities, Bernoulli Limited (“Bernoulli”), Toccum Limited (“Toccum”),

and GRA EMEA, all of which are based in Gibraltar. This was done to maintain the clandestine

nature of the operations and avoid the appearance of any official connection between Qatar and

GRA.

       121.   During all relevant times, Chalker owned and controlled Bernoulli, Toccum, and

GRA EMEA.

       122.   Indeed, the connection between GRA and the three off-shore entities is shown in

the New York Department of State’s records.




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    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 28 of 85




       123.   The publicly available financial statements for Bernoulli, Toccum, and GRA

EMEA further show that they received combined payments approximately totaling at least $30

million in the months leading up to the launch of the hack-and-smear operation in December 2017.




                                              27
Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 29 of 85




                                 28
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 30 of 85




       124.    According to former GRA personnel, who had knowledge of GRA’s finances, this

money was paid by Qatar, which was GRA’s only meaningful client and source of overseas funds.

       125.    Also according to former GRA personnel, GRA held weekly status meetings to

track unpaid invoices. The invoices were not related to the work that GRA held itself out as doing

for Qatar, i.e. standing up an intel fusion center in Doha. During these same conversations, GRA

employees discussed GRA conducting “dark” operations for Qatar.

       126.    Another GRA employee, Dan Emory, who was also involved in the “special

projects,” was responsible for getting the invoices paid by Ali al-Thawadi—the Chief of Staff to

MBH, the Qatari Emir’s younger brother.

F.     To Complete Their Plan of Silencing Broidy’s Criticisms, Defendants Provided the
       Hacked Materials to Media Outlets That Published Salacious Stories.

       127.    Qatar’s objective to effectively stifle Broidy’s First Amendment freedoms was not

complete until the materials stolen by GRA and Chalker could be twisted and publicized to smear

Broidy’s reputation.

       128.    Thus, after the hacking was completed and the materials had been stolen from

Broidy and BCM, Defendants carefully packaged the hacked materials into a series of PDFs, each

                                               29
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 31 of 85




with a unique theme designed to inflict maximum damage through highly precise curation and

alteration, then leaked those PDF files to the media, with the help of third parties.

       129.    The PR strategist members used by Qatar include, among others, Nicholas Muzin,

Joseph Allaham, Gregory Howard, Ahmad Nimeh, BlueFort Public Relations LLC, Spark Digital,

Stonington Strategies, and Lexington Strategies.

       130.    Through all times relevant to this Second Amended Complaint, Nicolas D. Muzin

was the Chief Executive Officer of Stonington Strategies LLC, a public relations and lobbying

firm incorporated under the laws of Delaware, and a political lobbyist who signed FARA

documents on behalf of Stonington as a registered foreign agent for the State of Qatar. On August

24, 2017, he was officially retained by the State of Qatar for “consulting services,” and on

September 3, 2017, Stonington registered under FARA as a foreign agent providing “strategic

communications” for the State of Qatar. Stonington Strategies has been reorganized into

Stonington Global LLC, whose website states that “[i]n launching the new firm, Nick Muzin &

his team plan to build on their success representing the State of Qatar.”

       131.    Joseph Allaham was the co-founder of Stonington Strategies, where he served as

partner for all relevant times. He has worked for Qatar, originally as an unregistered foreign agent

until he eventually filed a registration statement under FARA on June 15, 2018, in response to a

subpoena from Plaintiffs in a related action. He is also the CEO of Lexington Strategies.

       132.    Gregory Howard is a media placement expert, an agent who, through his

relationships with members of the media, provides information and materials to the media to

generate stories desired by the agent’s client. In 2017 and 2018, Howard worked as a Vice

President and Senior Media Strategist at the firm of Conover & Gould (“Conover”), based in

Washington, DC. From July 2017 until January 18, 2018, Howard was a registered foreign agent



                                                 30
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 32 of 85




of Qatar through Conover, but continued working for months afterwards placing stories in the

media based on Broidy’s hacked materials, despite terminating his status as a registered agent of

Qatar. Beginning no later than May 10, 2018, Howard worked in Washington, DC, as Vice

President of Mercury Public Affairs, a public strategy firm, which he left in April 2019. In each of

his positions at Mercury, despite FARA filings that did not mention Qatar, Howard worked as a

media placement strategist for Qatar.

       133.    Qatar specifically retained Messrs. Muzin, Allaham, and Howard in an attempt to

influence the Republican, American-Jewish community and other conservative supporters of the

President, with the end goal of influencing White House policy. Their work included identifying

Broidy and other Americans as critics to be silenced.

       134.    Muzin began working for Qatar sometime in 2017, and in late August of that year,

the Qatari Embassy in Washington, DC, officially retained Stonington and Muzin to influence

public opinion regarding Qatar. Their agreement specified that Muzin and Stonington were to

provide “consulting services” including the “development and implementation of a government

relations strategy for Qatar, as requested and directed by the Embassy.” The initial agreement that

Muzin submitted to the U.S. Department of Justice provided that Qatar would pay Muzin and

Stonington Strategies $50,000 a month for these services.

       135.    The initial agreement further limited Muzin and Stonington Strategies from acting

as “a representative, spokesperson or agent on behalf of the Embassy or the State of Qatar in any

meeting or communication with any person, or in any public or private statement, or in any

communications with the media” “[e]xcept as directed by the Embassy.”




                                                31
        Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 33 of 85




           136.     Allaham also began working for Qatar in 2017, according to his initial FARA

disclosures in his capacity as the CEO of Lexington Strategies.20 According to his (subsequently

filed) FARA registration, he worked directly for the Emir of Qatar, Sheikh Tamim bin Hamad Al

Thani, and his brother Sheikh Mohamad bin Hamad Al Thani (The Emir’s brother is commonly

referred to as “MBH””) Allaham’s FARA filing listed MBH’s chief of staff, Ali Al-Thawadi, as

his official point of contact responsible for overseeing his work on behalf of Qatar—meaning his

supervisor in the chain of command was the same as for the GRA Defendants. GRA worked with

these same individuals and referred to them for purposes of their covert operations by code names.

           137.     In the fall of 2017, in the weeks leading up to the attack, phone records show that

Allaham had five separate phone calls with MBH’s chief of staff, Ali al-Thawadi. GRA also

worked very closely with Thawadi and gave him the code name, “Shepherd,” or “Shep,” for short.

           138.     Also working in fall of 2017 with both GRA and the DC Defendants was Ahmad

Nimeh, the person behind “Blue Fort PR,” the firm that paid Muzin and Allaham at least $3.9

million in a span of three weeks from mid-September through early October 2017.

           139.     Nimeh was someone with whom GRA worked closely, to the extent that GRA gave

him the code name “Botany.” Nimeh is the principal of a company that worked alongside GRA on

the World Cup projects and who was publicly reported to be part of the Qatar “black ops” team

hired to undermine rival bidders (including the eventual runner-up, the United States). According

to both reporting in the Sunday Times of London and someone who has seen Nimeh’s

communications from during and around 2010, Nimeh worked with PR agents, as well as Chalker,

in furtherance of Qatar’s “dirty tricks” operations—and Nimeh did so under the direct supervision

of Ali Al-Thawadi, aka “Shep.”



20
     https://efile.fara.gov/docs/6563-Registration-Statement-20180615-2.pdf

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        Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 34 of 85




           140.     On or around September 17, 2017, Chalker met with Shep and Hashem in New

York City. Shortly thereafter, Chalker flew to Doha in the first week of October 2017 to have a

follow-up meeting with Shep and Hashem. These meetings Chalker had with Shep and Hashem

coincided with Blue Fort PR’s two payments of $1.95 million each to Muzin on September 18 and

October 10, 2017, as well as Qatar’s payment of $1.45 million in “October 2017” to Allaham.

           141.     Chalker flew again to Doha to meet with “Shep” and Hashem during the first week

of February 2018, right around the halfway point of the hacking phase of the hack-and-smear

operation.

           142.     Muzin has admitted that he identified and described Broidy to the Qatari

government as impediments to Qatar’s foreign policy interests in the United States. In connection

with his work for Qatar, Muzin or his employees or agents participated in weekly meetings at the

Qatari Embassy in Washington, DC, where they discussed with Qatari officials and other Qatari

agents the ongoing efforts against Broidy. Muzin specifically mentioned Broidy in these meetings

as an obstacle that needed to be dealt with for his lobbying on behalf of Qatar to succeed.

           143.     As plans for the upcoming hack were underway, increased payments flowed to

these key public relations strategists. On December 15, 2017, shortly before the hacks on Plaintiffs’

computers began, Qatar gave a $500,000 balloon payment to Messrs. Muzin and Allaham’s firm,

Stonington Strategies, and increased the monthly retainer from $50,000 to $300,000.21

           i.       Qatari Public Relations Contractors Push Certain Reporters to Publish
                    Damaging Stories Based on Hacked Materials

           144.     Howard’s phone calls following the hacking show that he was in close and frequent

communication with journalists in the early months of 2018 before those same reporters began

publishing stories that relied on information stolen from Plaintiffs’ computer systems and servers.


21
     https://efile.fara.gov/docs/6458-Exhibit-AB-20171221-2.pdf

                                                         33
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 35 of 85




In some instances, Howard communicated with journalists for weeks before they published these

articles. The intensity of those contacts often increased in the days prior to publication. During this

same period, Howard closely communicated with public relations experts, research groups, and

registered agents of Qatar to coordinate the media disinformation campaign against Broidy.

       145.    Starting on January 7, 2018, just hours after the first sustained hacker access of Ms.

Rosenzweig’s Gmail account (and thus hundreds of Plaintiffs’ confidential documents), Howard

engaged in a flurry of calls with his then-colleagues at Conover & Gould and outside public

relations professionals, as well as exchanging five phone calls with Amb. Patrick Theros, who is

Nimeh’s father-in-law and business partner. In the half-year before January 7, 2018, Howard’s

phone records indicate no calls or text messages with Theros.

       146.    From January 18 through at least July of 2018, Howard participated in more than

two hundred phone calls with reporters who contributed to stories regarding Broidy and Qatar or

regularly covered Qatari-related issues. These included extensive, and at times, almost daily calls

with now-former Associated Press (“AP”) reporter Tom LoBianco, all leading up to the time he

authored several stories regarding Broidy in March and May, 2018, based on the contents of

Broidy’s hacked emails. In addition, in the same time frame, Howard conducted more than 100

calls with the New York Times, McClatchy, the Wall Street Journal, and the Washington Post, all

of which were focusing on stories regarding Broidy’s hacked emails.

       147.    Messrs. Muzin and Allaham were in close contact with high-ranking members of

the Qatari government (including GRA contacts Apex (the Emir), Mightier (MBH, the Emir’s

brother), and Shep (Al Thawadi) in the weeks leading up to the attack. Muzin then flew to Qatar

within a few days of GRA’s first successful hack into Plaintiffs’ systems. Messrs. Muzin and




                                                  34
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 36 of 85




Allaham’s text messages with each other demonstrate their direct and prior knowledge of the

hacking and their knowing use of stolen documents.

       148.     On January 25, 2018, shortly after GRA’s successful hacking of BCM began,

Muzin sent Allaham a message on WhatsApp, stating, “It’s very good. . . . We got the press going

after Broidy. I emailed you.”

       149.     That same day, prior to the first public reports in the United States of materials

stolen from Plaintiffs, Ben Wieder, a reporter for McClatchy, a Washington, DC publication

focused on politics, emailed Muzin to tell him, “I’m working on a story about Elliott Broidy and

was hoping to talk.” Muzin, who was still in Qatar, forwarded this message to Allaham and

commented, “Time to rock.” Less than an hour after sending the email to Muzin, Wieder called

Howard, and they spoke for more than 10 minutes. Wieder would go on to write extensively about

Broidy on the basis of carefully curated emails and other documents stolen from Broidy’s servers.

       150.     On March 1, 2018, the contents of emails stolen from Plaintiffs’ computer accounts

and servers appeared for the first time in media accounts. The Wall Street Journal credited its

source as “a cache of emails from Broidy’s and his wife’s email accounts that were provided to

the Journal.”

       151.     Muzin shared the Wall Street Journal article with Allaham over WhatsApp that

same day. Muzin then commented, “He’s finished.”

       152.     Other media outlets continued to publish more of the stolen emails, including the

Huffington Post on March 2, 2018, and the BBC on March 5, 2018. The Huffington Post cited

“[e]mails and documents an anonymous group leaked to HuffPost.”

       153.     On March 13, 2018, Muzin remarked to Allaham via WhatsApp that recent news

stories about Broidy have “[p]ut[] him in [M]ueller[’s] crosshairs.” This communication



                                                35
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 37 of 85




demonstrates one of the central goals of the Qatari-Funded Criminal Enterprise—to portray Broidy

as a target of special counsel Robert Mueller’s investigation.

       154.    That same day, Allaham wrote to Muzin on WhatsApp that a former U.N. official

working under contract with the Qatari government, Jamal Benomar, had gone to Qatar prior to

the date of the message “to get the emails. That what [sic] I think he was doing there [in Qatar].”

Muzin responded by referencing Broidy by name.

       155.    On March 14, 2018, Muzin told Allaham on WhatsApp that he’d “get some intel

about the Broidy event soon.” This comment likely refers to a March 13, 2018, Republican

fundraiser headlined by the President of the United States, for which Broidy had been listed as an

event host.

       156.    The next day, on March 15, 2018, Muzin exclaimed to Allaham, via WhatsApp,

“Elliott Broidy was not at the fundraiser!” The two were clearly excited at the prospect of having

damaged Broidy’s political standing.

       157.    Multiple additional news stories followed that expressly relied on the stolen

documents. On March 21, 2018, the New York Times published a front-page article noting that an

“anonymous group critical of Broidy’s advocacy of American foreign policies in the Middle East”

has been distributing “documents, which included emails, business proposals and contracts,”

belonging to Plaintiffs. On March 23, 2018, Bloomberg published an article about Broidy, which

noted that it had “received two separate documents this week purporting to be versions” of

materials belonging to Broidy.

       158.    On March 25, 2018, a front-page story in the New York Times reported extensively

on Broidy’s fundraising and business activities. The story reported that Broidy had agreed not to

attend the March 13 fundraiser. The story was based, in part, on “[h]undreds of pages of Broidy’s



                                                36
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 38 of 85




emails, proposals and contracts” received from what the Times euphemistically termed “an

anonymous group critical of Broidy’s advocacy of American foreign policies in the Middle East.”

This “anonymous group” is the Qatari-Funded Criminal Enterprise.

       159.    On March 26, 2018, McClatchy published a story authored by Ben Wieder that used

hacked materials to denigrate Broidy, House Foreign Affairs Chairman Ed Royce, and the

Congressman’s wife, Marie Royce—just four days before the Senate was scheduled to vote on her

appointment to be Assistant Secretary of State for Educational and Cultural Affairs. Also at that

time, Chairman Royce’s House Foreign Affairs Committee was attempting to advance H.R. 2712,

known as the “Hamas Sanctions Bill,” which specifically named Qatar as a sponsor of Hamas

subject to sanctions. It was only one of a series of articles hostile to Broidy authored by Wieder

following contact with Muzin and Howard, who also had extensive communications with Wieder’s

editor, Viveca Novak.

       160.    And on May 4, 2018, in a WhatsApp message to Allaham, Muzin summed up the

very obvious objective the Enterprise had pursued for months, stating: “our new friends can make

Broidy go away altogether.”

       161.    Media outlets in the United States and abroad threatened to publish—and continued

to publish—materials stolen from Plaintiffs well into 2019.

       162.    GRA’s extensive hacking and packaging of curated PDFs with hacked materials,

as well as its intentional coordination with public relations professionals, ensured that the

Enterprise inflicted maximum damage on Broidy and BCM.

       ii.     Misleading and Malicious News Articles based on the Stolen Materials
               Damage Plaintiffs.

       163.    As an example, one news article using the hacked materials appeared on March 1,

2018, in the The Wall Street Journal, and was titled “Trump Ally Was in Talks to Earn Millions


                                               37
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 39 of 85




in Effort to End 1MDB Probe in U.S. Emails indicate Republican donor and wife were negotiating

fee if the Justice Department closed its investigation.”

       164.    A deluge of articles followed, as demonstrated by these examples:

           a. 3/2/18 – Huffington Post, “Leaked Emails Appear to Show a Top Trump Fundraiser
              Abusing His Power”

           b. 3/3/18 – The New York Times, “Mueller’s Focus on Adviser to Emirates Suggests
              Broader . . .”

           c. 3/5/18 – BBC News, “Emails Show UAE-Linked Effort Against Tillerson”

           d. 3/5/18 – The New York Times, “A Top Trump Fund-Raiser Says Qatar Hacked His
              Email”

           e. 3/6/18 – Bloomberg, “Trump Fundraiser’s Email Breach Shows Risks Before
              Midterms”

           f. 3/9/18 – Huffington Post, “Leaked Memo”

           g. 3/12/18 – Hollywood Reporter, “Mueller Probe Expands to Hollywood as Trump
              Arrives . . .”

           h. 3/21/18 – The New York Times, “How 2 Gulf Monarchies Sought to Influence the
              White House”

           i. 3/23/18 – Bloomberg, “Trump Fundraiser Offered to Help Lift Sanctions on
              Russian Firms”

           j. 3/29/18 – Newsweek, “Top Trump Fundraiser Helped Congressman’s Wife Land
              State Department Job”

       165.    The Huffington Post’s March 2, 2018 article expressly stated that it was based on

“[e]mails and documents an anonymous group leaked.”          The same article also included a

screenshot of a what purported to be a leaked email.

       166.    Similarly, the BBC News article from March 5, 2018 admitted that “BBC has

obtained leaked emails” from Broidy.

       167.    Additionally, The New York Times article from March 5, 2018 made assertions

based on “three sets of documents that appear to have been hacked from Broidy’s personal email.”


                                                 38
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 40 of 85




G.     Although the Hack-and-Smear Campaign Did Not Silence Broidy, It Caused Broidy
       and BCM to Suffer Significant Harm and Business Losses.

       168.    The hack-and-smear campaign by GRA and Chalker did not accomplish its primary

objective of silencing Broidy, whose opposition to Qatar’s support for terrorism is now stronger

than ever.

       169.    Nonetheless, the unlawful and tortious conduct of GRA and Chalker has caused

Broidy and BCM to suffer significant economic losses in the form of lost business relationships

and lost contracts.

       170.    For example, BCM lost out on contract opportunities with at least two foreign

governments as a direct result of the hacked materials being disseminated.

       171.    Broidy personally has been damaged in his broader business affairs, as business

partners and others have not wanted to associate themselves with someone who, following the

press onslaught, had such high visibility as a result of being the subject of deceptive, unflattering

media coverage. For example, investment and commercial banks with whom Broidy had long-

term relationships suddenly ceased doing business with him, following the hacks and associated

media campaign. BCM had at least one financial institution that also ceased doing business with

BCM as a direct result of the hacked materials being disseminated.

       172.    One element of this harm is that BCM has lost significant revenue and goodwill.

BCM makes investments in, among other things, privately held defense contracting companies. In

the defense contracting space, discretion is very important and highly valued. The projects of BCM

portfolio companies involve sensitive counterterrorism and intelligence initiatives. The work is

both highly confidential and proprietary. BCM clients rely on the company to protect information

that is highly sensitive, and the fact that BCM was hacked—and that the fruits of the hack were




                                                 39
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 41 of 85




spread through the media—has, quite predictably, caused counterparties and others to flee, and

resulted in a substantial loss in business.

       173.    In addition to the harmful effects on Plaintiffs’ business, BCM and Broidy also

incurred significant losses in the form of investigating the hacks, repairing the damage to BCM’s

systems caused by the hacks, updating the security protocols, and installing the necessary

protections to prevent GRA and Chalker from committing similar hacks in the future. These costs,

which were directly caused by the hacking, amounted to hundreds of thousands of dollars paid out

by Broidy and BCM.

                                         CLAIM I
            Violation of the Stored Communications Act, 18 U.S.C. § 2701, et seq.
                                     (GRA and Chalker)

       174.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       175.    The Stored Communications Act (“SCA”) imposes criminal penalties on “whoever

. . . intentionally accesses without authorization a facility through which an electronic

communication service is provided. . . . and thereby obtains, alters, or prevents authorized access

to a wire or electronic communication while it is in electronic storage in such system . . . .” 18

U.S.C. § 2701(a).

       176.    The SCA also provides that “a person aggrieved by any violation of this chapter in

which the conduct constituting the violation is engaged in with a knowing or intentional state of

mind may, in a civil action, recover from the person or entity” damages, along with equitable and

declaratory relief. Id. § 2707.

       177.    Broidy and BCM are “persons” within the meaning of 18 U.S.C. §§ 2510(6) and

2707(a).



                                                40
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 42 of 85




       178.    GRA and Chalker are directly liable under the SCA because they directed and

controlled the hacking of Plaintiffs’ email servers, facilities, and computer systems.

       179.    GRA and Chalker willfully, flagrantly, and intentionally accessed without

authorization a facility through which an electronic communication service is provided, namely,

BCM’s computer systems, including its email servers, as well as Google’s servers, thereby

obtaining access to wire or electronic communications while they were in electronic storage in

such systems, in violation of 18 U.S.C. § 2701(a).

       180.    The cyberattack was a willful, flagrant, and intentional violation of the SCA.

       181.    GRA and Chalker willfully and intentionally accessed the email accounts of, at a

minimum, Broidy, Caganap, Hilliard, Rosenzweig, Levi, Sexton, and Stephens by transmitting

fake spearphishing emails with links to malicious websites enabling GRA and Chalker to steal the

login credentials.

       182.    GRA and Chalker used the information they obtained from their spearphishing

attacks to gain unauthorized access to Plaintiffs’ computer networks and email accounts.

Beginning on or about January 16, 2018, Defendants intentionally accessed or caused to be

accessed BCM’s servers without authorization, including emails and documents physically located

on those servers, as well as Google servers, specifically by accessing, or causing others to access,

the accounts of Broidy and other BCM employees, without authorization and obtaining emails and

other items.

       183.    GRA and Chalker also implemented identifiable obfuscation techniques, such as

VPN, to engage in efforts to hide the origin of their spearphishing attacks and unauthorized access

to Plaintiffs’ servers, and emails and documents physically located on those servers and the servers




                                                41
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 43 of 85




of Google. GRA and Chalker used VPN and other tools to mask their cyber intrusions and avoid

detection, thereby showing sophistication and consciousness of guilt.

       184.    GRA and Chalker intentionally, willfully, unlawfully, and without authorization

accessed Plaintiffs’ computer systems and email servers thousands of times over a period of almost

two months, in a sustained cyberattack.

       185.    As a direct and proximate result of the actions of GRA and Chalker, Plaintiffs

incurred substantial losses and damage, including but not limited to:

               (a)    harm to Plaintiffs’ computers, servers and accounts, including the integrity

                      and availability of their servers, and to emails and documents physically

                      located on those servers;

               (b)    losses associated with identifying and investigating the cyberattacks, and

                      assessing and repairing the integrity and security of Plaintiffs’ servers,

                      systems and operations after the attacks, including the costs of hiring

                      forensic investigators, data security experts, and attorneys;

               (c)    losses associated with remedial measures taken to prevent future attacks,

                      including but not limited to the replacement costs for personal and business

                      computers and cell phones, and consultant fees to reprogram Plaintiffs’ new

                      computer and cell phone equipment to create dual authentication systems,

                      in order to help prevent future attacks;

               (d)    harm to Plaintiffs’ business, including but not limited to lost revenue from

                      business arrangements cancelled or lost due to the hack and associated

                      media onslaught, losses associated with hundreds of hours of Broidy’s and

                      other employees’ time spent investigating the hacking, taking remedial



                                                  42
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 44 of 85




                       measures in response to the hacking, and responding to the barrage of media

                       inquiries, rather than time spent on billable business matters, as well as loss

                       of goodwill;

               (e)     loss in the value of Plaintiffs’ trade secrets, confidential and proprietary

                       business information, and other intellectual property, and losses associated

                       with protecting the foregoing from future misappropriation; and

               (f)     additional harm and damages to be proven at trial.

       186.    GRA and Chalker intentionally and willfully caused such damage to Plaintiffs.

       187.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000. In fact, the out-of-pocket costs Plaintiffs paid to outside consultants to conduct a damage

assessment and for remedial measures was alone in the hundreds of thousands of dollars.

       188.    As provided for in 18 U.S.C. § 2707(b) & (c), Plaintiffs are entitled to an award of

the greater of the actual damages suffered or the statutory damages, as well as punitive damages,

attorneys’ fees and other costs of this action, and appropriate equitable relief.

                                      CLAIM II
    Violation of the Computer Fraud and Abuse Act, 18 U.S.C. §§ 1030(a)(2) and (a)(5)
                                   (All Defendants)

       189.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       190.    The Computer Fraud and Abuse Act (“CFAA”) creates a cause of action against

whoever “intentionally accesses a computer without authorization or exceeds authorized access,

and thereby obtains . . . information from any protected computer.” 18 U.S.C. § 1030(a)(2).

       191.    The CFAA also creates a cause of action against whoever “(A) knowingly causes

the transmission of a program, information, code, or command, and as a result of such conduct,



                                                 43
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 45 of 85




intentionally causes damage without authorization, to a protected computer; (B) intentionally

accesses a protected computer without authorization, and as a result of such conduct, recklessly

causes damage; or (C) intentionally accesses a protected computer without authorization, and as a

result of such conduct, causes damage and loss.” Id. § 1030(a)(5).

       192.    The CFAA also creates a cause of action against “[w]hoever conspires to commit

or attempts to commit an offense under subsection (a) of this section.” Id. § 1030(b).

       193.    A “protected computer” is one that “is used in or affecting interstate or foreign

commerce or communication.” Id. § 1030(e)(2)(B).

       194.     BCM’s computer systems and email servers are used in and affect interstate and

foreign commerce or communication and are therefore “protected computers.”

       195.    GRA and Chalker willfully and intentionally accessed the email accounts of, at a

minimum, Broidy, Caganap, Hilliard, Rosenzweig, Levi, Sexton, and Stephens by transmitting

fake spearphishing emails with links to malicious websites enabling GRA and Chalker to steal the

login credentials.

       196.    GRA and Chalker are directly liable under the CFAA because they directed and

controlled the hacking of Plaintiffs’ email servers, facilities, and computer systems.

       197.    GRA and Chalker willfully and intentionally accessed Plaintiffs’ computer

networks and email accounts without authorization.

       198.    Thereafter, GRA and Chalker used the information they obtained from their

spearphishing attacks to gain unauthorized access to Plaintiffs’ computer networks and email

accounts. Beginning on or about January 16, 2018, GRA and Chalker intentionally accessed or

caused to be accessed BCM’s servers without authorization, including emails and documents




                                                44
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 46 of 85




physically located on those servers, as well as Google servers, specifically by accessing, or causing

others to access, the accounts of Broidy and other BCM employees, without authorization.

       199.     GRA and Chalker also implemented identifiable obfuscation techniques, such as

VPN, to engage in efforts to hide the origin of their spearphishing attacks and unauthorized access

to Plaintiffs’ servers, and emails and documents physically located on those servers and the servers

of Google. GRA and Chalker used VPN and other tools to mask their cyber intrusions and avoid

detection, thereby showing sophistication and consciousness of guilt.

       200.     GRA and Chalker intentionally, willfully, unlawfully, and without authorization

accessed Plaintiffs’ protected computer systems and email servers thousands of times over a period

of almost two months, in a sustained cyberattack.

       201.     Defendants intentionally conspired to cause damage to BCM’s protected computers

through the attack.

       202.     They knowingly caused the transmission of a program, information, code, or

command, and as a result, intentionally caused damage without authorization, to BCM’s protected

computers.

       203.     As a direct and proximate result of the actions of GRA and Chalker, Plaintiffs

incurred substantial losses and damage, including but not limited to:

             (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

                availability of their servers, and to emails and documents physically located on

                those servers;

             (b) losses associated with identifying and investigating the cyberattacks, and assessing

                and repairing the integrity and security of Plaintiffs’ servers, systems and




                                                 45
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 47 of 85




               operations after the attacks, including the costs of hiring forensic investigators, data

               security experts, and attorneys;

           (c) losses associated with remedial measures taken to prevent future attacks, including

               but not limited to the replacement costs for personal and business computers and

               cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

               phone equipment to create dual authentication systems, in order to help prevent

               future attacks;

           (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

               arrangements cancelled or lost due to the hack and associated media onslaught,

               losses associated with hundreds of hours of Broidy’s and other employees’ time

               spent investigating the hacking, taking remedial measures in response to the

               hacking, and responding to the barrage of media inquiries, rather than time spent

               on billable business matters, as well as loss of goodwill;

           (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

               information, and other intellectual property, and losses associated with protecting

               the foregoing from future misappropriation; and

           (f) additional harm and damages to be proven at trial.

       204.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000. In fact, the out-of-pocket costs Plaintiffs paid to outside consultants to conduct a damage

assessment and for remedial measures was alone in the hundreds of thousands of dollars.

       205.    GRA and Chalker intentionally and willfully caused such damage to Plaintiffs.

                                   CLAIM III
Violation of CA Comprehensive Computer Data Access & Fraud Act, Cal. Pen. Code § 502
                                (GRA and Chalker)



                                                  46
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 48 of 85




       206.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       207.    The California Comprehensive Computer Data Access and Fraud Act (“CDAFA”)

law imposes criminal penalties on anyone who “[k]nowingly accesses and without permission

takes, copies, or makes use of any data from a computer, computer system, or computer network,

or takes or copies any supporting documentation, whether existing or residing internal or external

to a computer, computer system, or computer network.” Cal. Penal Code § 502(c)(2).

       208.    CDAFA imposes criminal penalties on anyone who “[k]nowingly accesses and

without permission adds, alters, damages, deletes, or destroys any data, computer software, or

computer programs which reside or exist internal or external to a computer, computer system, or

computer network.” Id. § 502(c)(4).

       209.    CDAFA imposes criminal penalties on anyone who “[k]nowingly and without

permission provides or assists in providing a means of accessing a computer, computer system, or

computer network in violation of” Section 502. Id. § 502(c)(6).

       210.    CDAFA imposes criminal penalties on anyone who “[k]nowingly and without

permission accesses or causes to be accessed any computer, computer system, or computer

network.” Id. § 502(c)(7).

       211.    CDAFA imposes criminal penalties on anyone who “[k]nowingly and without

permission uses the Internet domain name or profile of another individual, corporation, or entity

in connection with the sending of one or more electronic mail messages or posts and thereby

damages or causes damage to a computer, computer data, computer system, or computer network.”

Id. § 502(c)(9).




                                               47
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 49 of 85




       212.    CDAFA provides that “the owner or lessee of the computer, computer system,

computer network, computer program, or data who suffers damage or loss by reason of a violation

of any of the provisions of subdivision (c) may bring a civil action against the violator for

compensatory damages and injunctive relief or other equitable relief. Compensatory damages

shall include any expenditure reasonably and necessarily incurred by the owner or lessee to verify

that a computer system, computer network, computer program, or data was or was not altered,

damaged, or deleted by the access.” Id. § 502(e)(1).

       213.    CDAFA provides for award of reasonable attorneys’ fees. Id. § 502(e)(2).

       214.    GRA and Chalker are directly liable under CDAFA because they directed and

controlled the hacking of Plaintiffs’ email servers, facilities, and computer systems.

       215.    GRA and Chalker knowingly and unlawfully accessed computers, computer

systems or computer networks at Plaintiff BCM and Google, all of which were located in

California. GRA and Chalker knew that at the time that they did not have the authorization to

access Plaintiffs’ computers, computer systems, and networks. This knowledge is demonstrated

by their use of spear phishing attacks and attempted spear phishing attacks to disguise their

intentions and obtain login credentials through fraudulent misrepresentations. The spear phishing

emails imitated Google’s profile in order to obtain login credentials. GRA and Chalker caused

damage to Plaintiffs’ electronic files and emails through their cyber intrusions.

       216.    GRA and Chalker knowingly and unlawfully conducted the hacking of BCM’s

computer systems and email servers, and are therefore directly liable under CDAFA.

       217.    As a direct and proximate result of the actions of GRA and Chalker, Plaintiffs

incurred substantial losses and damage, including but not limited to:




                                                48
Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 50 of 85




    (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

       availability of their servers, and to emails and documents physically located on

       those servers;

    (b) losses associated with identifying and investigating the cyberattacks, and assessing

       and repairing the integrity and security of Plaintiffs’ servers, systems and

       operations after the attacks, including the costs of hiring forensic investigators, data

       security experts, and attorneys;

    (c) losses associated with remedial measures taken to prevent future attacks, including

       but not limited to the replacement costs for personal and business computers and

       cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

       phone equipment to create dual authentication systems, in order to help prevent

       future attacks; and

    (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

       arrangements cancelled or lost due to the hack and associated media onslaught,

       losses associated with hundreds of hours of Broidy’s and other employees’ time

       spent investigating the hacking, taking remedial measures in response to the

       hacking, and responding to the barrage of media inquiries, rather than time spent

       on billable business matters, as well as loss of goodwill;

    (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

       information. and other intellectual property. and losses associated with protecting

       the foregoing from future misappropriation; and

    (f) additional harm and damages to be proven at trial.




                                          49
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 51 of 85




       218.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000. In fact, the out-of-pocket costs Plaintiffs paid to outside consultants to conduct a damage

assessment and for remedial measures was alone in the hundreds of thousands of dollars. These

losses include significant costs that were reasonably necessary to verify whether and how

Plaintiff’s computer systems and data were altered, damaged or deleted by GRA and Chalker’s

unlawful access.

       219.    GRA and Chalker’s actions were willful and malicious, and Plaintiffs are entitled

to punitive damages under § 502(e)(4).

                                        CLAIM IV
      Receipt and Possession of Stolen Property in Violation of Cal. Penal Code § 496
                                     (All Defendants)

       220.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       221.    California law imposes criminal penalties on any “person who buys or receives any

property that has been stolen or that has been obtained in any manner constituting theft or extortion,

knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or aids in

concealing, selling or withholding any property from the owner, knowing the property to be so

stolen or obtained.” Cal. Penal Code § 496(a).

       222.    California law further provides that “[a]ny person who has been injured by a

violation of [Section 496] may bring an action for three times the amount of actual damages, if

any, sustained by plaintiff, costs of suit, and reasonable attorney’s fees.”

       223.    GRA and Chalker are directly liable because they directed and controlled the

hacking of Plaintiffs’ email servers, facilities, and computer systems located in California.




                                                 50
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 52 of 85




       224.    GRA and Chalker knowingly received property, including private communications,

documents, trade secrets and intellectual property housed on Plaintiffs’ and Google’s servers, and

in emails and documents physically located on those servers located in California.

       225.    This property was stolen from Plaintiffs in California or otherwise obtained from

Plaintiffs in California in a manner that constitutes theft.

       226.    GRA and Chalker received the property knowing that it was stolen property and

obtained through theft. They knowingly and intentionally concealed, sold, withheld—and aided

in the concealing, selling and withholding—of Plaintiffs’ stolen property.

       227.    As a direct and proximate result of the actions of GRA and Chalker, Plaintiffs

incurred substantial losses and damage, including but not limited to:

           (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

               availability of their servers, and to emails and documents physically located on

               those servers;

           (b) losses associated with identifying and investigating the cyberattacks, and assessing

               and repairing the integrity and security of Plaintiffs’ servers, systems and

               operations after the attacks, including the costs of hiring forensic investigators, data

               security experts, and attorneys;

           (c) losses associated with remedial measures taken to prevent future attacks, including

               but not limited to the replacement costs for personal and business computers and

               cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

               phone equipment to create dual authentication systems, in order to help prevent

               future attacks;




                                                  51
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 53 of 85




           (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

               arrangements cancelled or lost due to the hack and associated media onslaught,

               losses associated with hundreds of hours of Broidy’s and other employees’ time

               spent investigating the hacking, taking remedial measures in response to the

               hacking, and responding to the barrage of media inquiries, rather than time spent

               on billable business matters, as well as loss of goodwill;

           (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

               information, and other intellectual property, and losses associated with protecting

               the foregoing from future misappropriation; and

           (f) additional harm and damages to be proven at trial.

       228.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000.

                                            CLAIM V
                                    Intrusion Upon Seclusion
                                       (GRA and Chalker)

       229.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       230.    Plaintiffs have a legally protected privacy interest in their information. This

includes their Google login information, their emails, and documents contained on BCM’s servers

and computer systems.       Plaintiffs’ email servers and computer systems contained private

information and secrets that Plaintiffs had secluded away from public attention and prying eyes.

       231.    GRA and Chalker are directly liable under CDAFA because they directed and

controlled the hacking of Plaintiffs’ email servers, facilities, and computer systems.




                                                 52
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 54 of 85




       232.    GRA and Chalker purposefully and repeatedly hacked Plaintiffs’ computer systems

and email servers over a period of weeks. In doing so, they intruded upon Plaintiffs’ secluded

documents and private communications, viewing them through electronic means and then printing

them out.

       233.    Much of the information GRA and Chalker illegally obtained in the hacking

concerned Broidy’s private matters and is not of public interest. GRA and Chalker’s tortious

scheme—committing repeated cybercrimes to facilitate the publishing of a private citizen’s

secrets—is highly offensive and shocking to any reasonable person. GRA and Chalker were

retained specifically as part of an effort to harm Broidy’s business and public standing. They

accomplished that end through illegal means, by stealing and conspiring to publish private facts

about his personal life and matters.

       234.    GRA and Chalker intruded upon Broidy’s seclusion between January 16, 2018 and

February 25, 2018 and other times within two years of the commencement of this action.

       235.    The stealing and subsequent public disclosure of misleading and curated

information has caused Plaintiffs to suffer monetary damages, in an amount to be proven at trial,

but in any event, in excess of $75,000, exclusive of interest and costs. The injury to Plaintiffs’

privacy is ongoing, and thus the damages Plaintiffs seek may not be finally set. Because GRA and

Chalker’s actions are intolerable in a civilized community, Plaintiffs also seek punitive damages

to deter this sort of criminal enterprise behavior.

       236.    As a direct and proximate result of the actions of GRA and Chalker, Plaintiffs

incurred substantial losses and damage, including but not limited to:




                                                  53
Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 55 of 85




    (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

       availability of their servers, and to emails and documents physically located on

       those servers;

    (b) losses associated with identifying and investigating the cyberattacks, and assessing

       and repairing the integrity and security of Plaintiffs’ servers, systems and

       operations after the attacks, including the costs of hiring forensic investigators, data

       security experts, and attorneys;

    (c) losses associated with remedial measures taken to prevent future attacks, including

       but not limited to the replacement costs for personal and business computers and

       cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

       phone equipment to create dual authentication systems, in order to help prevent

       future attacks;

    (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

       arrangements cancelled or lost due to the hack and associated media onslaught,

       losses associated with hundreds of hours of Broidy’s and other employees’ time

       spent investigating the hacking, taking remedial measures in response to the

       hacking, and responding to the barrage of media inquiries, rather than time spent

       on billable business matters, as well as loss of goodwill;

    (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

       information, and other intellectual property, and losses associated with protecting

       the foregoing from future misappropriation; and

    (f) additional harm and damages to be proven at trial.




                                          54
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 56 of 85




       237.     The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000.

                                            CLAIM VI
                                          Civil Conspiracy
                                          (All Defendants)

       238.     Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       239.     GRA, Kevin Chalker, Mandich, Garcia, and Courtney Chalker formed and operated

a conspiracy.

       240.     Defendants willfully, intentionally, and knowingly agreed to violate the SCA, the

CFAA, and CDAFA, to receive and possess stolen property, and to intrude upon Broidy’s

seclusion, all as further described above and incorporated herein. Defendants operated their

conspiracy to accomplish these ends.

       241.     GRA and Chalker willfully, intentionally, and knowingly directed and controlled

the illegal acts, as described above.

       242.     Mandich furthered the illegal acts by willfully, intentionally, and knowingly

designing and strategizing the “special projects” including covert operations at Chalker’s direction.

       243.     Garcia and Courtney Chalker furthered the illegal acts by willfully, intentionally,

and knowingly destroying evidence of the conspiracy’s unlawful and tortious conduct at Chalker’s

direction. Defendants wiped GRA’s computers, phones and other devices clean of any damaging

evidence; removed certain hard drives, phones and devices with incriminating evidence from

GRA’s offices’ and brought those devices to a remote location where Defendants destroyed them.




                                                  55
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 57 of 85




       244.    Each of the Defendants actively participated in the above-described civil

conspiracy, and therefore each Defendant is responsible for each tortious and otherwise unlawful

action of any co-conspirator.

       245.    As a direct and proximate result of the conspiracy, including the conduct of

Mandich, Garcia, and Courtney Chalker, Plaintiffs incurred substantial losses and damage,

including but not limited to:

           (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

               availability of their servers, and to emails and documents physically located on

               those servers;

           (b) losses associated with identifying and investigating the cyberattacks, and assessing

               and repairing the integrity and security of Plaintiffs’ servers, systems and

               operations after the attacks, including the costs of hiring forensic investigators, data

               security experts, and attorneys;

           (c) losses associated with remedial measures taken to prevent future attacks, including

               but not limited to the replacement costs for personal and business computers and

               cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

               phone equipment to create dual authentication systems, in order to help prevent

               future attacks;

           (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

               arrangements cancelled or lost due to the hack and associated media onslaught,

               losses associated with hundreds of hours of Broidy’s and other employees’ time

               spent investigating the hacking, taking remedial measures in response to the




                                                  56
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 58 of 85




               hacking, and responding to the barrage of media inquiries, rather than time spent

               on billable business matters, as well as loss of goodwill;

           (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

               information, and other intellectual property, and losses associated with protecting

               the foregoing from future misappropriation; and

           (f) additional harm and damages to be proven at trial.

       246.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000.

                                           CLAIM VII
              Violation of the Defend Trade Secrets Act, 18 U.S.C. §§ 1831, 1832, 1836
                                         (All Defendants)

       247.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       248.    The Defend Trade Secrets Act (“DTSA”) creates a cause of action against

“[w]hoever, with intent to convert a trade secret, that is related to a product or service used in or

intended for use in interstate or foreign commerce, to the economic benefit of anyone other than

the owner thereof, and intending or knowing that the offense will injure any owner of that trade

secret, knowingly . . . steals, or without authorization appropriates, takes, carries away, or conceals,

or by fraud, artifice, or deception obtains” trade secrets. 18 U.S.C. § 1832(a)(1).

       249.    The DTSA imposes criminal penalties on “whoever . . . conspires with one or more

other persons” to violate § 1832(a)(1). See id. § 1832(a)(5).

       250.    The DTSA also creates a cause of action against “[w]hoever, intending or knowing

that the offense will benefit any foreign government, foreign instrumentality, or foreign agent,




                                                  57
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 59 of 85




knowingly—(1) steals, or without authorization appropriates, takes, carries away, or conceals, or

by fraud, artifice, or deception obtains a trade secret.” Id. § 1831(a)(1).

        251.    The DTSA imposes penalties on “[w]hoever . . . conspires with one or more other

persons to commit” the offense listed in § 1831(a)(1). See id. § 1831(a)(5).

        252.    “An owner of a trade secret that is misappropriated may bring a civil action. . . if

the trade secret is related to a product or service used in, or intended for use in, interstate or foreign

commerce.” Id. § 1836(b)(1). The owner may seek remedies including, inter alia, injunctive relief

and “damages for actual loss caused by the misappropriation of the trade secret.”                   Id. §

1836(b)(3)(A-B).

        253.    The BCM computer systems and email servers stored trade secrets, including but

not limited to highly confidential business plans and proposals; research supporting those plans

and proposals, including cost proposals and service projections; information concerning business

strategies and opportunities; and contacts for important business relationships. These trade secrets

are of substantial value to Plaintiffs, as will be proven at trial.

        254.    BCM stored trade secrets that were used in interstate and foreign commerce.

        255.    Plaintiffs have taken and continue to take reasonable measures to maintain the

secrecy of their trade secrets. For example, Plaintiffs have always maintained their information

on secured servers that are protected by passwords, firewalls, and antivirus software.

        256.    Moreover, Plaintiffs’ emails contained confidential information involving

contracts, business proposals, and cost estimates involving Broidy, BCM, and clients. These

contracts, proposals, and estimates contained sensitive information about Broidy’s clients and his

company’s confidential technology and methods.




                                                   58
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 60 of 85




        257.    Plaintiffs’ trade secrets derive independent actual and potential economic value

from not being generally known or available to the public or other persons who can obtain

economic value from their disclosure or use.

        258.    Plaintiffs’ trade secrets have significant value, resulting from significant investment

of time and resources.

        259.    Defendants unlawfully conspired to take, appropriate, and obtain Plaintiffs’ trade

secrets without authorization, by means of a cyberattack against Plaintiffs. Defendants knew that

BCM’s servers contained trade secrets and intended to steal them in order to harm Plaintiffs.

        260.    GRA and Chalker directed and controlled the misappropriation of Plaintiffs’ trade

secrets during the hacking of their computer systems and email servers, while the other Defendants

conspired in the same misappropriation by taking acts to design the strategy for the

misappropriation and subsequently destroy evidence of it.

        261.    These trade secrets included confidential business plans, stored on plaintiffs’

servers, cost proposals and service projections, information concerning business strategies and

opportunities, and contacts for important business relationships.

        262.    GRA and Chalker improperly disclosed and misappropriated Plaintiffs’ trade

secrets without consent or authorization when they widely disseminated, or caused to be widely

disseminated, those trade secrets to the media through intermediaries. At the time of such

disclosures, GRA and Chalker knew or had reason to know that the information disclosed consisted

of trade secrets.

        263.    GRA and Chalker misappropriated Plaintiffs’ trade secrets intentionally for the

benefit their foreign client, Qatar, and acted with the knowledge that their actions would have the

effect of benefiting the foreign government of Qatar.



                                                  59
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 61 of 85




       264.      Defendants’ conspiracy, and the acts of misappropriation by GRA and Chalker,

have affected interstate commerce.

       265.      As a direct and proximate result of the actions of Defendants’ conspiracy, including

the acts of GRA and Chalker, Plaintiffs incurred substantial losses and damage, including but not

limited to:

              (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

                 availability of their servers, and to emails and documents physically located on

                 those servers;

              (b) losses associated with identifying and investigating the cyberattacks, and assessing

                 and repairing the integrity and security of Plaintiffs’ servers, systems and

                 operations after the attacks, including the costs of hiring forensic investigators, data

                 security experts, and attorneys;

              (c) losses associated with remedial measures taken to prevent future attacks, including

                 but not limited to the replacement costs for personal and business computers and

                 cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

                 phone equipment to create dual authentication systems, in order to help prevent

                 future attacks;

              (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

                 arrangements cancelled or lost due to the hack and associated media onslaught,

                 losses associated with hundreds of hours of Broidy’s and other employees’ time

                 spent investigating the hacking, taking remedial measures in response to the

                 hacking, and responding to the barrage of media inquiries, rather than time spent

                 on billable business matters, as well as loss of goodwill; and



                                                    60
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 62 of 85




           (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

               information, and other intellectual property, and losses associated with protecting

               the foregoing from future misappropriation.

       266.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000. In fact, the out-of-pocket costs Plaintiffs paid to outside consultants to conduct a damage

assessment and for remedial measures was alone in the hundreds of thousands of dollars. See 18

U.S.C. § 1836(b)(3)(B)(i)(I).

       267.    As a direct consequence of Defendants’ unlawful actions, Defendants have unjustly

benefited from their possession of Plaintiffs’ trade secrets. Defendants were paid money by Qatar

to conspire to misappropriate Plaintiffs’ trade secrets. Plaintiffs seek damages in the amount of

that unjust enrichment, and disgorgement of Defendants’ profits pursuant to 18 U.S.C. §

1836(b)(3)(B)(i)(II).

       268.    Defendants’ conduct was willful and malicious, and thus Plaintiffs are entitled to

exemplary damages pursuant to 18 U.S.C. § 1836(b)(3)(C), equal to twice the amount of their

proven damages.         Plaintiffs are also entitled to attorneys’ fees pursuant to 18 U.S.C.

§ 1836(b)(3)(C).

       269.    Defendants’ conduct constitutes criminal conduct in violation of 18 U.S.C. §§ 1831

and 1832. As such, it constitutes predicate racketeering activity under the Racketeer Influenced

and Corrupt Organizations (“RICO”) Act, 18 U.S.C. § 1962.

                                           CLAIM VIII
           Violation of the California Uniform Trade Secrets Act, Cal. Civ. Code § 3426
                                        (GRA and Chalker)

       270.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.



                                                 61
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 63 of 85




        271.    The California Uniform Trade Secrets Act (“CUTSA”) provides a cause of action

for damages and injunctive relief in response to the misappropriation of trade secrets. Cal. Civ.

Code §§ 3426.2; 3426.3. (While Plaintiffs believe this claim is governed by California law, in the

alternative, Plaintiffs hereby allege, based on the same facts, that Defendants have committed

misappropriation of trade secrets under New York common law.)

        272.    GRA and Chalker directed and controlled the misappropriation of a “trade secret”

as defined by Cal. Civ. Code § 3426.1 to include “information, including a formula, pattern,

compilation, program, device, method, technique, or process, that: (1) Derives independent

economic value, actual or potential, from not being generally known to the public or to other

persons who can obtain economic value from its disclosure or use; and (2) Is the subject of efforts

that are reasonable under the circumstances to maintain its secrecy.”

        273.    The BCM server stored trade secrets, including but not limited to highly

confidential business plans and proposals; research supporting those plans and proposals,

including cost proposals and service projections; information concerning business strategies and

opportunities; and contacts for important business relationships. These trade secrets are of

substantial value to Plaintiffs, as will be proven at trial.

        274.    Moreover, Plaintiffs’ emails contained confidential information involving

contracts, business proposals, and cost estimates involving Broidy’s company and its clients.

These contracts, proposals, and estimates contained sensitive information about Broidy’s clients

and his company’s confidential technology and methods.

        275.    Plaintiffs have taken and continue to take reasonable measures to maintain the

secrecy of their trade secrets. For example, Plaintiffs have always maintained their information

on secured servers that are protected by passwords, firewalls, and antivirus software.



                                                   62
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 64 of 85




       276.    Plaintiffs’ trade secrets derive independent actual and potential economic value

from not being generally known or available to the public or other persons who can obtain

economic value from their disclosure or use.

       277.    Plaintiffs’ trade secrets have significant value, resulting from significant investment

of time and resources.

       278.    GRA and Chalker directed and controlled the misappropriation of Plaintiffs’ trade

secrets by committing and supervising a hack into BCM’s computer systems and email servers.

       279.    GRA and Chalker improperly disclosed and misappropriated Plaintiffs’ trade

secrets without consent or authorization when they widely disseminated those trade secrets to

fellow members of the Qatari-Funded Criminal Enterprise and to media organizations for

publication. At the time of such disclosure, GRA and Chalker knew or had reason to know that

the information disclosed consisted of trade secrets.

       280.    As a direct and proximate result of the actions of GRA and Chalker, Plaintiffs

incurred substantial losses and damage, including but not limited to:

           (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

               availability of their servers, and to emails and documents physically located on

               those servers;

           (b) losses associated with identifying and investigating the cyberattacks, and

               assessing and repairing the integrity and security of Plaintiffs’ servers, systems

               and operations after the attacks, including the costs of hiring forensic

               investigators, data security experts, and attorneys;

           (c) losses associated with remedial measures taken to prevent future attacks,

               including but not limited to the replacement costs for personal and business



                                                 63
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 65 of 85




               computers and cell phones, and consultant fees to reprogram Plaintiffs’ new

               computer and cell phone equipment to create dual authentication systems, in order

               to help prevent future attacks;

            (d) harm to Plaintiffs’ business, including but not limited to lost revenue from

               business arrangements cancelled or lost due to the hack and associated media

               onslaught, losses associated with hundreds of hours of Broidy’s and other

               employees’ time spent investigating the hacking, taking remedial measures in

               response to the hacking, and responding to the barrage of media inquiries, rather

               than time spent on billable business matters, as well as loss of goodwill; and

            (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

               information, and other intellectual property, and losses associated with protecting

               the foregoing from future misappropriation.

       281.    The total amount of these losses will be proven at trial but, in any event, far exceeds

$75,000.

       282.    As a direct consequence of the GRA and Chalker’s unlawful misappropriation of

Plaintiffs’ trade secrets, GRA and Chalker have unjustly profited from their possession of

Plaintiffs’ trade secrets.    GRA and Chalker were paid money from Qatar to steal and

misappropriate Plaintiffs’ trade secrets. Plaintiffs seek damages in the amount of that unjust

enrichment, and disgorgement of GRA and Chalker’s profits.

       283.    GRA and Chalker’s conduct was willful and malicious, and thus Plaintiffs are

entitled to exemplary damages pursuant to Cal. Civ. Code § 3426.3, equal to twice the amount of

their proven damages. Plaintiffs are also entitled to attorneys’ fees pursuant to Cal. Civ. Code

§ 3426.4.



                                                  64
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 66 of 85




                                          CLAIM IX
                    Violation of the RICO Act, 18 U.S.C. §§ 1962(c) and 1964
                                        (All Defendants)

        284.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

        285.    The federal RICO statue provides, “It shall be unlawful for any person employed

by or associated with any enterprise engaged in, or the activities of which affect, interstate or

foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such

enterprise’s affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

        286.    The RICO statute further provides that “Any person injured in his business or

property by reason of a violation of section 1962 of this chapter may sue therefor in any appropriate

United States district court and shall recover threefold the damages he sustains and the cost of the

suit, including a reasonable attorney’s fee . . . .” Id. § 1964(c).

        287.    At all relevant times, Plaintiffs and each Defendant are persons within the meaning

of 18 U.S.C. §§ 1961(3), 1962(c), and 1964(c).

        288.    Defendants are a group of people and entities associated together in fact with

several other individuals and entities, including members of the Qatari government, for the

common purpose of carrying out an ongoing criminal enterprise, as described in the foregoing

paragraphs (the “Enterprise”). Specifically, the Enterprise has engaged in a pattern of illegal and

covert operations designed to silence and neutralize people who are perceived to be enemies or

critics of Qatar.

        289.    At all relevant times, the Enterprise described herein was engaged in, and its

activities affected, interstate and foreign commerce within the meaning of 18 U.S.C. § 1962(c).




                                                  65
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 67 of 85




         290.   Together, Defendants and their co-conspirators form an association-in-fact

enterprise within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c). Each Defendant has

knowingly, willfully, and unlawfully participated in the operation or management of the

Enterprise, directly or indirectly, as described in the foregoing paragraphs and as identified further

below.

         291.   The Enterprise consists of, at least, GRA, Chalker, Mandich, Garcia, Courtney

Chalker, GRA EMEA, GRA Maven, GRA Quantum, GRA Research, Qrypt, Bernoulli, Toccum,

Howard, Muzin, Shep, Hashem, and Nimeh, and numerous other known and unknown individuals,

including cyber hackers, public relations professionals, lobbyists, political actors, and other

members of the Qatari government.

         292.   Defendants and their co-conspirator members of the Enterprise have functioned,

and continue to function, as a unit in carrying out their multi-year, ongoing pattern of racketeering

activity through a campaign to neutralize critics of Qatar. Defendant Chalker is responsible for

oversight and management of the hacking operations that are instrumental to the Enterprise’s

common purpose. Defendants Mandich and Garcia are key operatives who at times shared

oversight and management responsibility with Chalker. By stealing the types of confidential

information that could harm individuals who are perceived to be threats to Qatar, these individuals

provide the Enterprise with the necessary content to be manipulated, falsified and widely

disseminated to inflict maximum damage on the victim. Through those operations, they manage

and/or facilitate the Enterprise’s activities. Defendants GRA, GRA Maven, GRA Quantum, GRA

EMEA, Qrypt, and GRA Research, on information and belief, are co-conspirator entities that

employ hackers who help develop the plans to attack perceived critics of Qatar and ultimately

carry out the operations of the Enterprise. They operate as separate but intertwined departments of



                                                 66
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 68 of 85




a single company whose finances arc thoroughly comingled. As a result, they also help manage

and/or facilitate the Enterprise’s activities.

        293.    Defendants’ co-conspirators each helped manage and direct different aspects of the

Enterprise in pursuit of the same common objective: to silence Qatar’s critics. Their specific roles

involved identifying individuals who were perceived to be threats to Qatar’s standing in the world

community; instructing Defendants to conduct cyberattacks on those targets; obtaining the

confidential information stolen by Defendants; manipulating and falsifying that content; and then

disseminating it widely to members of the national and international media for the purpose of

harming Plaintiffs and other victims of Defendants’ cyberattacks.

        294.    All Defendants and their co-conspirators have worked together, and continue to

work together, to develop, orchestrate and implement their plans to silence and neutralize

individuals who criticize Qatar and thereby threaten its standing in the world community.

        295.    The Enterprise is an enterprise under the RICO Act that is separate and distinct

from Defendants and their co-conspirators. The activities of the Enterprise are separate and

distinct from the ordinary and legitimate business operations of the individual Defendant entities

and those of their co-conspirator entities, as well as the ordinary business operations of GRA,

Chalker, Mandich Garcia, and Courtney Chalker and other individual participants in the

racketeering activity who also happen to work for a Defendant entity and/or serve in an officer,

director or beneficiary capacity for such an entity.

        296.    Defendants and their co-conspirators committed the above and below-described

tortious and criminal acts as part of a common purpose to serve the Enterprise. These actions were

separate and distinct from any lawful work they may have performed under contract for Qatar.




                                                 67
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 69 of 85




       297.    The Enterprise engaged in tortious conduct that crossed state and international

lines, spanning from Qatar to California, New York, and Washington, DC, among other areas.

       298.    Plaintiffs hereby allege and set forth the following predicate racketeering activities

as defined under 18 U.S.C. § 1961. Defendants jointly and individually committed each separate

set of predicate acts alleged below.

       299.    Defendants each participated in the “pattern of racketeering activity” described in

the foregoing paragraphs within the meaning of 18 U.S.C. §§ 1961(1) & (5). They committed

multiple acts of wire fraud, in violation of 18 U.S.C. § 1343; multiple acts of criminal money

laundering, in violation of 18 U.S.C. § 1957; multiple misappropriations of trade secrets, in

violation of the DTSA, 18 U.S.C. §§ 1832(a)(1) and (a)(5); and multiple acts of economic

espionage, in violation of 18 U.S.C. §§ 1831(a)(1) and (a)(5). These predicate acts are not isolated

incidents but instead form a continuous, related pattern of racketeering activity with the common

purpose of conducting covert and illegal operations to silence and neutralize Qatar’s critics.

       300.    Together, these numerous predicate acts are part of an open-ended, multi-year

scheme of racketeering that continues through the present. The Enterprise has inflicted numerous

injuries against many victims over a period of multiple years. Its campaign to silence its critics is

ongoing, and it continues to commit acts of racketeering to shield Qatar from public scrutiny.

Media organizations are still to this day relying on information stolen from Broidy’s computer

systems and email servers to publish stories to damage his image. For example, media outlets

have continued to falsely claim that Broidy was a target in the investigation of special counsel

Robert Mueller into Russian interference in U.S. elections, whereas in reality he was never

interviewed by Mueller’s team and does not appear once in the Mueller Report. If left unchecked,

the Enterprise presents a distinct threat of long-term racketeering activity.



                                                 68
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 70 of 85




        301.   Alternatively, the predicate acts outlined herein are part of a multi-year closed-

ended scheme of racketeering that began no later than April 2017 and ended no earlier than August

2019.

        302.   Federal law imposes criminal penalties on “[w]hoever, having devised or intending

to devise any scheme or artifice to defraud, or for obtaining money or property by means of false

or fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by

means of wire, radio, or television communication in interstate or foreign commerce, any writings,

signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice.” 18 U.S.C.

§ 1343.

        303.   As described in detail above, from December 2017 through February 2018,

Defendants engaged in multiple spear phishing attempts, followed by unauthorized access to

Plaintiffs’ computers and networks. The spear phishing attempts were efforts to obtain access to

Broidy and BCM’s computers and networks, under fraudulent pretenses, so as to steal Plaintiffs’

confidential information. The operations were conducted in furtherance of the Enterprise’s

purpose of silencing Qatar’s political opponents.

        304.   Defendants sent at least one such fraudulent email to Robin Rosenzweig. On

December 27, 2017, she received an email at her Gmail account that appeared to be a security alert

from Google. The email used Google trademarks without the permission of Google, including the

Google logo and the Gmail logo. It was sent from a Gmail address and had been disguised to look

like an authentic security alert from Google. The email purported to alert Ms. Rosenzweig that

the security on her account had been compromised and that she needed to verify or change her

account credentials.




                                                69
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 71 of 85




       305.    On or around January 14, 2018, Defendants sent other fraudulent spear phishing

emails to Broidy’s Executive Assistant. These emails were disguised as Google security alerts,

which bore Google trademarks used without Google’s permission, and were sent through Google’s

Gmail service in violation of Google’s Terms of Service and Gmail’s Program Policies.

       306.    One of the fraudulent spear phishing emails contained a fictitious security alert with

a picture of the Executive Assistant’s face and part of the Executive Assistant’s phone number.

The email was sent from a misleading Gmail account with the name “Gmail Account” and the

email address noreply.user.secure.services@gmail.com, which had been drafted to look like an

authentic security alert from Google. The email purported to alert the Executive Assistant that the

security on the account had been compromised and that the Executive Assistant needed to verify

or change the Google credentials.

       307.    Defendants sent numerous spear phishing emails like the ones described above

using interstate wires, and these transmissions crossed state lines.

       308.    Defendants used the above-described spear phishing emails to make material

misstatements with the specific intent that the targeted individuals would rely on those false

representations to their detriment and surrender their valuable login credentials so that they could

then use those credentials to hack into Plaintiffs’ computer systems. Defendants did so while

contemplating the harm that they would cause these targets and ultimately cause Broidy. They

succeeded.

       309.    Having fraudulently obtained those credentials through material misstatements,

Defendants commenced an illegal cyberattack against Broidy and BCM’s computer systems and

servers. These cyber transmissions used interstate wires and crossed state lines—for example,

forensic investigation has revealed that some transmissions traveled from Vermont to California.



                                                 70
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 72 of 85




Defendants and their co-conspirators initiated thousands of intrusions into Plaintiffs’ computer

systems and email servers.

        310.    Defendants thereby obtained Plaintiffs’ valuable electronic information, including

but not limited to emails, private information, contracts, trade secrets, and business plans.

Defendants launched the spear phishing attempts with the specific intent of fraudulently depriving

Plaintiffs of their valuable property.

        311.    Defendants each perpetrated several acts of wire fraud by committing and

supervising the spear phishing efforts against associates of Broidy in order to obtain their valuable

login credentials to BCM’s computer systems and email servers.

        312.    As detailed above, Defendants’ actions have directly and proximately caused

Plaintiffs to suffer injury to their business or property, including (without limitation) damage

resulting from harm to Plaintiffs’ computers, servers, and accounts; loss in the value of Plaintiffs’

trade secrets and confidential business information; and harm to Plaintiffs’ business, in an amount

to be proven at trial.

        313.    Under certain defined circumstances, federal law imposes criminal liability on any

person who “knowingly engages or attempts to engage in a monetary transaction in criminally

derived property of a value greater than $10,000 and is derived from specified unlawful

activity.” 18 U.S.C. § 1957(a). A “monetary transaction” means the “deposit, withdrawal,

transfer, or exchange, in or affecting interstate or foreign commerce, of funds or a monetary

instrument … by, through, or to a financial institution.” 18 U.S.C. § 1957(f)(1). “Criminally

derived property” means “any property constituting, or derived from, proceeds obtained from a

criminal offense.” 18 U.S.C. § 1957(f)(2). The term “specified unlawful activity” includes any act




                                                 71
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 73 of 85




or offense that constitutes “racketeering activity” under 18 USC § 1961(1), such as each of the

various predicate acts identified herein. See 18 U.S.C. § 1957(f)(3).

       314.    As outlined above, in furtherance of the Enterprise, Defendants engaged in a pattern

of racketeering activity that included multiple acts of wire fraud. By intentionally and knowingly

making multiple fraudulent misrepresentations, Defendants induced individuals to provide their

log-in credentials to Plaintiffs’ computers and servers, and then used those credentials to hack into

and steal Plaintiffs’ confidential material. The Qatari government and/or their agents paid

Defendants millions of dollars for directing and engaging in these criminal acts of wire fraud.

       315.    On information and belief, these offenses took place in the United States.

Alternatively, to the extent certain acts took place outside the United States, Defendants who

conducted those acts were U.S. persons, within the meaning of 18 U.S.C. § 3077.

       316.    In the fall of 2017, Chalker held over $40 million in accounts affiliated with

Bernoulli, Toccum, and GRA EMEA—offshore shell companies formed in Gibraltar for which

Chalker served as the sole director. By late 2018, the accounts for both Bernoulli and Toccum

held under $98,000.

       317.    On information and belief, Defendants knowingly used portions of their illicit

proceeds, valued at greater than $10,000, to pay the individual hackers whom they employed to

carry out these complex acts of wire fraud.

       318.    On information and belief, each of those monetary transactions was by, through or

to a financial institution within the meaning of 18 U.S.C. §§ 1956(c)(6) and 1957(f)(1), affected

interstate or foreign commerce, and constituted an act of criminal money laundering that forms

part of the pattern of racketeering activity in which Defendants engaged.




                                                 72
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 74 of 85




        319.    The DTSA imposes criminal penalties against anyone who “knowingly . . . with

intent to convert a trade secret, that is related to a product or service used in or intended for use in

interstate or foreign commerce, to the economic benefit of anyone other than the owner thereof,

and intending or knowing that the offense will, injure any owner of that trade secret, knowingly .

. . steals, or without authorization appropriates, takes, carries away, or conceals, or by fraud,

artifice, or deception obtains such information;. . . [or] without authorization copies, duplicates,

sketches, draws, photographs, downloads, uploads, alters, destroys, photocopies, replicates,

transmits, delivers, sends, mails, communicates, or conveys such information; [or] receives, buys,

or possesses such information, knowing the same to have been stolen or appropriated, obtained, or

converted without authorization.” 18 U.S.C. § 1832(a).

        320.    The DTSA also imposes criminal penalties on “whoever . . . conspires with one or

more other persons” to violate § 1832(a)(1). Id. § 1832(a)(5).

        321.    Through their hacking of Broidy’s and BCM’s computers and networks,

Defendants and other members of the Enterprise repeatedly violated the DTSA, 18 U.S.C. § 1832,

et seq. The BCM servers stored trade secrets including but not limited to highly confidential

business plans and proposals; research supporting those plans and proposals, including cost

proposals and service projections; vendor lists; requests for proposals and responses thereto;

information concerning business strategies and opportunities; and contacts for important business

relationships. BCM is a sophisticated investment management and services firm that possesses

and uses its trade secrets to serve its customers and create a competitive market advantage.

        322.    Moreover, Plaintiffs’ emails contained confidential information involving

contracts, business proposals, and cost estimates involving Broidy’s company and its clients.




                                                  73
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 75 of 85




These contracts, proposals, and estimates contained sensitive information about Broidy’s clients

and his company’s confidential technology and methods.

       323.    These trade secrets are of substantial value to Plaintiffs, and they were used and

intended for use in relation to products and services in interstate and foreign commerce.

       324.    Plaintiffs take and have taken reasonable measures to keep this information secret.

For example, Plaintiffs have always maintained their information on secured servers that are

protected by passwords, firewalls, and antivirus software.

       325.    Plaintiffs’ trade secrets derive independent actual and potential economic value

from not being generally known or available to the public or other persons who can obtain

economic value from their disclosure or use.

       326.    Plaintiffs’ trade secrets have significant value, resulting from significant investment

of time and resources.

       327.    Plaintiffs have made, and continue to make, efforts that are reasonable under the

circumstances to maintain the secrecy of their trade secrets.

       328.    Defendants unlawfully and without authorization appropriated, obtained, and stole

Plaintiffs’ trade secrets. They knew that BCM’s servers contained trade secrets and intended to

steal them in order to harm Plaintiffs and economically benefit both themselves and Qatar.

Defendants were paid substantial amounts to misappropriate and publish Plaintiffs’ trade secrets,

and Qatar hoped to use those trade secrets to its economic benefit. Defendants thereby committed

multiple violations of the DTSA.

       329.    Defendants’ knowing and intentional violation of the DTSA has materially injured

Plaintiffs. It has deprived them of valuable trade secrets, and caused them to expend resources to

defend against further cyberattacks.



                                                 74
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 76 of 85




        330.    The Enterprise’s misappropriation of Plaintiffs’ trade secrets began in January of

2018 and is ongoing.

        331.    As detailed above, Defendants’ actions have directly and proximately caused

Plaintiffs to suffer injury to their business or property, including (without limitation) damage

resulting from harm to Plaintiffs’ computers, servers, and accounts; loss in the value of Plaintiffs’

trade secrets and confidential business information; and harm to Plaintiffs’ business, in an amount

to be proven at trial.

        332.    Federal law provides that “[w]hoever, intending or knowing that the offense will

benefit any foreign government, foreign instrumentality, or foreign agent, knowingly—(1) steals,

or without authorization appropriates, takes, carries away, or conceals, or by fraud, artifice, or

deception obtains a trade secret . . . [or] (3) receives, buys, or possesses a trade secret, knowing

the same to have been stolen or appropriated, obtained, or converted without authorization”

violates 18 U.S.C. § 1831(a)(1).

        333.    Federal law also imposes penalties on “[w]hoever . . . conspires with one or more

other persons to commit” a violation of § 1831(a)(1). Id. § 1831(a)(5).

        334.    Defendants each unlawfully and without authorization took, appropriated, and

obtained Plaintiffs’ trade secrets through the cyberattack against Plaintiffs’ computers and servers.

Defendants and other members of the Enterprise knew that BCM’s servers contained trade secrets

and intended to steal them in order to harm Plaintiffs. They misappropriated Plaintiffs’ trade

secrets intentionally for the benefit of their foreign client, Qatar, and acted with the knowledge

that their actions would have the effect of benefiting the foreign nation of Qatar.

        335.    Defendants used an artifice and fraud—the fake Gmail spear phishing emails—to

take, appropriate, and obtain Plaintiffs’ trade secrets.



                                                  75
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 77 of 85




        336.    Defendants used fake spear phishing emails to induce targets to surrender their

valuable login credentials. Multiple targets did provide their login credentials in reliance on these

false material statements.

        337.    As detailed above, Defendants’ actions have directly and proximately caused

Plaintiffs to suffer injury to their business or property, including (without limitation) damage

resulting from harm to Plaintiffs’ computers, servers, and accounts; loss in the value of Plaintiffs’

trade secrets and confidential business information; and harm to Plaintiffs’ business, in an amount

to be proven at trial.

        338.    The Enterprise has substantially affected interstate commerce by (1) committing

multiple acts of wire fraud and money laundering involving transactions that cross state and

international lines, as described above; and (2) causing damage to Plaintiffs and other victims of

these attacks by harming property and business, including loss of valuable electronic information,

business plans, contracts, vendor lists, requests for proposals, consumer good will, and substantial

expense in protecting Plaintiffs’ and other victims’ computer systems and email servers from

additional cyberattack.      Plaintiffs regularly conduct business in interstate commerce, and

Defendants’ cyber-hacking has substantially disrupted that business.

        339.    As a direct and proximate result of Defendants’ racketeering activity, Plaintiffs

incurred substantial and concrete financial loss and damage to their business and property,

including but not limited to:

            (a) harm to Plaintiffs’ computers, servers and accounts, including the integrity and

                availability of their servers, and to emails and documents physically located on

                those servers;




                                                 76
        Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 78 of 85




             (b) losses associated with identifying and investigating the cyberattacks, and assessing

                 and repairing the integrity and security of Plaintiffs’ servers, systems and

                 operations after the attacks, including the costs of hiring forensic investigators, data

                 security experts, and attorneys;

             (c) losses associated with remedial measures taken to prevent future attacks, including

                 but not limited to the replacement costs for personal and business computers and

                 cell phones, and consultant fees to reprogram Plaintiffs’ new computer and cell

                 phone equipment to create dual authentication systems, in order to help prevent

                 future attacks;

             (d) harm to Plaintiffs’ business, including but not limited to lost revenue from business

                 arrangements cancelled or lost due to the hack and associated media onslaught,

                 losses associated with hundreds of hours of Broidy’s and other employees’ time

                 spent investigating the hacking, taking remedial measures in response to the

                 hacking, and responding to the barrage of media inquiries, rather than time spent

                 on billable business matters, as well as loss of goodwill; and

             (e) loss in the value of Plaintiffs’ trade secrets, confidential and proprietary business

                 information, and other intellectual property, and losses associated with protecting

                 the foregoing from future misappropriation.

          340.   Defendants’ racketeering activity has further directly and proximately caused loss

to Plaintiffs’ business by deliberately and foreseeably harming the confidence and trust of its

existing and potential clients in Plaintiffs’ ability to maintain the security and secrecy of client

data.    Plaintiffs’ business involves sensitive work in the government contract space where

discretion and security are critical. A highly public hacking scheme like this one has naturally



                                                    77
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 79 of 85




caused significant lost revenue and other harm. In other words, Defendants’ racketeering activity

has directly and proximately caused damage to Plaintiffs’ goodwill and business relationships,

causing loss to the value of Plaintiffs’ business and lost profits, among other damages.

       341.    Plaintiffs are entitled to treble damages and attorneys’ fees under 18 U.S.C.

§ 1964(c).

                                         CLAIM X
                  Conspiracy to Violate the RICO Act, 18 U.S.C. § 1962(d)
                                     (All Defendants)

       342.    Plaintiffs incorporate and adopt by reference the allegations contained in each and

every preceding paragraph.

       343.    The RICO Act provides that “[i]t shall be unlawful for any person to conspire to

violate any of the provisions” of the Act. 18 U.S.C. § 1962(d).

       344.    Defendants knowingly and voluntarily agreed with other members of the Qatari-

Funded Criminal Enterprise to engage in the above-mentioned racketeering activity with the

common objective of silencing Qatar’s critics. In so doing, they intentionally and willfully

conspired to commit, and ultimately committed, the above-described predicate acts.

       345.    GRA and Chalker knew about and agreed to participate in the conspiracy when they

began their collective and illicit efforts to help Qatar hold on to hosting World Cup 2022. All the

GRA Defendants knew about and agreed to participate in the conspiracy many years ago, when

their criminal operations described above were first launched.

       346.    Defendants and other members of the Qatari-Funded Criminal Enterprise

committed the above-referenced racketeering acts in furtherance of their racketeering conspiracy.




                                                78
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 80 of 85




       347.    Defendants each committed numerous acts of racketeering knowingly in

furtherance of the conspiracy, including wire fraud, money laundering, misappropriation of trade

secrets, and economic espionage.

       348.    As a direct consequence and by reason of Defendants’ racketeering conspiracy,

Plaintiffs have suffered injury to their business and property, which includes, but is not limited to,

concrete financial loss, discussed above.

       349.    These injuries to Plaintiffs’ business and property were the natural, foreseeable, and

intended result of the GRA Defendants’ RICO conspiracy and the acts committed in furtherance

thereof.

       350.    Plaintiffs are entitled to treble damages and attorneys’ fees under 18 U.S.C. §

1964(c).

                                      PRAYER FOR RELIEF

       351.    Plaintiffs repeat and re-allege the allegations contained in each and every preceding

paragraph.

       352.    Wherefore, Plaintiffs request that this Court order the following relief against

Defendants:

               (a)     Grant judgment in favor of Plaintiffs and against Defendants on all claims;

               (b)     Declare that Defendants’ conduct violates the statutes and common law

                       cited above;

               (c)     Award Plaintiffs an appropriate amount in monetary damages as determined

                       at trial, including but not limited to compensatory damages, lost profits,

                       statutory damages, and treble damages under RICO, 18 U.S.C. § 1964 and

                       Cal. Pen. Code § 496;



                                                 79
Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 81 of 85




         (d)     Award Plaintiffs punitive damages under 18 U.S.C. § 2707, Cal. Pen. Code

                 § 502, and Plaintiffs’ common-law claims, as well as exemplary damages

                 under Cal. Civ. Code § 3426.3 and 18 U.S.C. § 1836(b)(3)(C);

         (e)     Award Plaintiffs their reasonable attorneys’ fees and the costs of bringing

                 this action;

         (f)     Award Plaintiffs pre- and post-judgment interest;

         (g)     Award damages to be proven at trial; and

         (h)     Grant Plaintiffs such other relief as is just and appropriate.

                                   JURY DEMAND

  Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a jury trial on all issues so triable.




                                            80
     Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 82 of 85




Dated: June 1, 2021                                Respectfully submitted,
                                                   ELLIOTT BROIDY
                                                   BROIDY CAPITAL MANAGEMENT, LLC
                                                   By Counsel

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                               CERTIFICATE OF SERVICE

       I certify that I filed the foregoing on the Court’s CM/ECF system, which will send notice

to all counsel of record.

                                                   _s/ George J. Terwilliger III_____________
                                                   George J. Terwilliger III




                                              81
Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 83 of 85




                 Exhibit A
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 84 of 85




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                             )
ELLIOTT BROIDY, et al.,                      )
                                             )
               Plaintiffs,                   )
                                             )       Case No. 1:19CV11861
       v.                                    )
                                             )
GLOBAL RISK ADVISORS LLC, et al.,            )
                                             )
               Defendants.                   )
                                             )

                       DECLARATION OF GRA WHISTLEBLOWER

       I, GRA Whistleblower, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am over the age of 18 and competent to testify in this matter.

       2.      I have personal knowledge about the matters stated in this declaration.

       3.      I have reviewed the First Amended Complaint filed by Plaintiffs Elliott Broidy and

Broidy Capital Management, LLC in the above-captioned matter, and I am generally familiar with

the subject matter of the lawsuit and the claims being made.

       4.      I was employed by GRA and/or its affiliates from XX through XX.

       5.      Kevin Chalker controlled GRA and its affiliated entities.

       6.      I was in a position to obtain knowledge that Kevin Chalker had knowledge of the

Broidy hacking and GRA was responsible for the hacking.

       7.      I was in a position to obtain knowledge that Kevin Chalker and GRA engaged in

physical and electronic surveillance of Broidy.

       8.      I was in a position to obtain knowledge that Kevin Chalker and others at GRA took

steps to hide and destroy electronic devices that contained information that would show

involvement with the Broidy hacking.
    Case 1:19-cv-11861-MKV-JW Document 97-1 Filed 06/01/21 Page 85 of 85




       9.      Based on my knowledge of Kevin Chalker’s capabilities and history of him

threatening individuals and retaliating against them for disclosing potentially harmful information,

I now fear for the safety and myself and/or my family should my identity become known to GRA

and Kevin Chalker.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 28 day of May, 2021.


                                                             _s/ GRA Whistleblower____
                                                             GRA Whistleblower




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